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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


IN RE BROILER CHICKEN ANTITRUST            No. 1:16-cv-08637
LITIGATION
                                           Hon. Thomas M. Durkin
This Document Relates To:                  Magistrate Judge Jeffrey T. Gilbert
Commercial & Institutional Indirect
Purchaser Plaintiff Actions



     ORDER GRANTING COMMERCIAL AND INSTITUTIONAL INDIRECT
PURCHASER PLAINTIFFS’ UNCONTESTED MOTION FOR FINAL APPROVAL OF
THE SETTLEMENTS WITH DEFENDANTS AMICK, FIELDALE, GEORGE’S, MAR-
              JAC, PECO, PILGRIM’S PRIDE, AND TYSON
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         This Court has held a hearing on Commercial and Institutional Indirect Purchaser

Plaintiffs’ Motion for Final Approval of the Settlements with Defendants Amick Farms, LLC,

Fieldale Farms Corporation, Mar-Jac,1 Peco Foods, Inc., Pilgrim’s Pride Corporation, George’s,2

and Tyson3 (collectively, the “Settling Defendants”).

         The Court, having reviewed the Motion, its accompanying memorandum, and the

exhibits thereto, the Settlement Agreements, and all papers filed, hereby finds that the motion

should be GRANTED as to the settlements with Settling Defendants.

         NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

         1.     The Court has jurisdiction over the subject matter of this litigation, including the

actions within this litigation, and over the parties to the Settlement Agreements, including all

members of the Settlement Class (also referred to herein as the “Class”) and the Settling

Defendants.

         2.     For purposes of this Order, except as otherwise set forth herein, the Court adopts

and incorporates the definitions contained in the Settlement Agreements.

         3.     Pursuant to Fed. R. Civ. P. 23(g), Interim Co-Lead Counsel previously appointed

by the Court is appointed as Co-Lead Counsel for the Settlement Class as they have and will fairly

and competently represent the interests of the Settlement Class.

         4.     Pursuant to Federal Rule of Civil Procedure 23, the Court certifies the Settlement

Classes as found in the seven Settlement Agreements.


1
 The Mar Jac Defendants are Mar-Jac Poultry, Inc., Mar-Jac Poultry MS, LLC, Mar-Jac Poultry
AL, LLC, Mar-Jac AL/MS, Inc., Mar-Jac Poultry, LLC, and Mar-Jac Holdings, Inc.
2
    The George’s Defendants consist of George’s Inc. and George’s Farms. Inc.
3
 The Tyson Defendants are Tyson Foods, Inc., Tyson Chicken, Inc., Tyson Breeders, Inc., and
Tyson Poultry, Inc.



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        5.       The Court further finds that the prerequisites to a class action under Rule 23 are

satisfied solely for settlement purposes in that: (a) there are hundreds of thousands of

geographically dispersed class members, making joinder of all members impracticable; (b) there

are questions of law and fact common to the class that predominate over individual issues; (c) the

claims or defenses of the plaintiffs are typical of the claims or defenses of the Settlement

Classes; (d) the plaintiffs will fairly and adequately protect the interests of the Settlement

Classes, and have retained counsel experienced in antitrust class action litigation who have, and

will continue to, adequately represent the Settlement Classes; (e) common issues of law and fact

predominate; and (f) a class action is superior to individual actions.

        6.       The Court hereby finally approves the Settlement Agreements and their terms and

finds that said Settlements are, in all respects, fair, reasonable and adequate to the Settlement

Classes pursuant to Rule 23 of the Federal Rules of Civil Procedure and directs consummation of

the Settlement Agreements according to their terms and conditions.

        7.       The Court finds that the proposed Plan of Allocation, which proposes to pay

putative Class Members in the Indirect Purchaser States4 and Connecticut for one settlement with

qualifying purchases on a pro rata basis subject to weighting of purchase amounts by part, is

fair, reasonable, and adequate. See, e.g., Standard Iron Works v. ArcelorMittal, No. 08 C 5214,

2015 WL 6165024, at *2 (N.D. Ill. Oct. 20, 2015) (“I find that the Proposed Payment Amount,

calculated to pay each approved Claim on a pro rata basis, based on Approved Purchase

Amounts, complies with the Plan of Allocation previously approved by the Court.”); City of




4
 “Indirect Purchaser States” are those states that provide for damages claims by indirect purchasers, and include:
Arizona, California, District of Columbia, Florida, Hawaii, Illinois, Iowa, Kansas, Maine, Massachusetts, Michigan,
Minnesota, Mississippi, Missouri, Montana, Nebraska, Nevada, New Hampshire, New Mexico, New York, North
Carolina, North Dakota, Oregon, Rhode Island, South Carolina, South Dakota, Tennessee, Utah, Vermont, West
Virginia, and/or Wisconsin.


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Greenville v. Syngenta, No. 3:10-CV-188, 2012 WL 1948153, at *4 (S.D. Ill. May 30, 2012)

(preliminarily approving settlement, and finding plan of allocation of benefits on pro rata basis

as fair, reasonable, and adequate). Pro rata distributions are based on the number of approved

purchases of during the Settlement Class period, a dynamic that ties recovery to each class

member to the volume and type of its purchases. The Plan of Allocation does not unfairly favor

any Class Member, or group of Class Members, to the detriment of others. The Court has

approved the basic structure of this Plan of Allocation in connection with other settlements in

this Action.

       8.      This Court hereby dismisses on the merits and with prejudice all Claims in the

CIIPPs’ action against the Settling Defendants, with each party to bear its own costs and fees,

including attorneys’ fees, except as provided in the Settlement Agreements.

       9.      The Releases in the Settlement Agreements are incorporated herein, and the

Releasing Parties shall, by operation of law, be deemed to have released all Released Parties

from the Released Claims. All entities who are Releasing Parties (as defined in the Settlement

Agreements) or who purport to assert claims on behalf of the Releasing Parties are hereby and

forever barred and enjoined from commencing, prosecuting, or continuing, against the Released

Parties, in this or any other jurisdiction, any and all claims, causes of action or lawsuits, which

they had, have, or in the future may have, arising out of or related to any of the Released Claims

as defined in the Settlement Agreements.

       10.     The Released Parties are hereby and forever released and discharged with respect

to any and all claims or causes of action which the Releasing Parties had, have, or in the future

may have, arising out of or related to any of the Released Claims as defined in the Settlement

Agreements.




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       11.     The notice given to the Settlement Classes, including individual notice to all

members of the Settlement Classes who could be identified through reasonable efforts, was the

most effective and practicable under the circumstances. This notice provided due and sufficient

notice of the proceedings and of the matters set forth therein, including the proposed settlement,

to all persons entitled to such notice, and this notice fully satisfied the requirements of Rules

23(c)(2) and 23(e)(1) of the Federal Rules of Civil Procedure and the requirements of due

process.

       12.     No objections to the Settlements were filed.

       13.     Any member of the Settlement Classes who failed to timely and validly request to

be excluded from the Settlement Classes shall be subject to and bound by the provisions of the

Settlement Agreements, the Released Claims contained therein, and this Order with respect to all

Released Claims, regardless of whether such members of the Classes seek or obtain any

distribution from the Settlement Fund. Persons/Entities who validly requested to be excluded

from the Settlement Classes are listed in Exhibit A attached hereto.

       14.     Without affecting the finality of this Final Judgment in any way, this Court hereby

retains continuing exclusive jurisdiction over: (a) consummation, administration and

implementation of the Settlement Agreements and distribution to Settlement Classes members

pursuant to further orders of this Court; (b) disposition of the Settlement Fund; (c) hearing and

determining the application by CIIPPs for attorneys’ fees, costs, expenses, and interest;5 (d) the

actions in this litigation until the Final Judgment has become effective and each and every act

agreed to be performed by the parties all have been performed pursuant to the Settlement



5
 CIIPPs previously filed a motion asking for an award of attorneys’ fees of 1/3 of the Settlement
Fund plus interest and payment of $10,407,499.62 in litigation expenses as well as incentive
awards of $15,000 to each of the named Plaintiffs. ECF No. 5404.


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Agreements; (e) hearing and ruling on any matters relating to any plan of allocation or

distribution of proceeds from the Settlements; (f) the parties to the Settlement Agreements for the

purpose of enforcing and administering the Settlement Agreements and the releases

contemplated by, or executed in connection with the Settlement Agreements; (g) the enforcement

of this Final Judgment; and (h) over any suit, action, proceeding, or dispute arising out of or

relating to the Settlement Agreements or the applicability of the Settlement Agreements, that

cannot be resolved by negotiation and agreement.

       15.     The Settling Defendants have served upon the appropriate state officials and the

appropriate federal official notice under the Class Action Fairness Act, 28 U.S.C. § 1715

(“CAFA”).

       16.     The Court finds, pursuant to Rules 54(a) and (b) of the Federal Rules of Civil

Procedure, that judgment should be entered and further finds that there is no just reason for delay

in the entry of final judgment as to the parties to the Settlement Agreements. Accordingly, the

Clerk is hereby directed to enter this Final Judgment forthwith.

       IT IS SO ORDERED.


        April 18, 2022
DATED: _____________________
                                                      HON. THOMAS M. DURKIN




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                                               EXHIBIT A

In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                           Postmark
                         Company Name                                      Details
    #                                                                                                 Date

1           Aubin's Butchering & Processing1                                                        1/11/2022
2           Jake's General Merchandise, Inc.                                                        1/27/2022
                                                           Includes Subsidiaries, Affiliates, and
3           McDonald's                                     Predecessors                              2/7/2022
                                                           Subsidiary, Affiliate, or Predecessor
3-1         McDonald's Corporation                         of McDonald's                             2/7/2022
                                                           Subsidiary, Affiliate, or Predecessor
3-2         McDonald's Corporation                         of McDonald's                             2/7/2022
                                                           Subsidiary, Affiliate, or Predecessor
3-3         McDonald's USA, LLC                            of McDonald's                             2/7/2022
            McDonald's Restaurants of Alabama,             Subsidiary, Affiliate, or Predecessor
3-4         Inc.                                           of McDonald's                             2/7/2022
                                                           Subsidiary, Affiliate, or Predecessor
3-5         McDonald's Restaurants of Alaska, Inc.         of McDonald's                             2/7/2022
            McDonald's Restaurants of Arizona,             Subsidiary, Affiliate, or Predecessor
3-6         Inc.                                           of McDonald's                             2/7/2022
            McDonald's Restaurants of Arkansas,            Subsidiary, Affiliate, or Predecessor
3-7         Inc.                                           of McDonald's                             2/7/2022
            McDonald's Restaurants of California,          Subsidiary, Affiliate, or Predecessor
3-8         Inc.                                           of McDonald's                             2/7/2022
            McDonald's Restaurants of Colorado,            Subsidiary, Affiliate, or Predecessor
3-9         Inc.                                           of McDonald's                             2/7/2022
            McDonald's Restaurants of Connecticut,         Subsidiary, Affiliate, or Predecessor
3-10        Inc.                                           of McDonald's                             2/7/2022
            McDonald's Restaurants of Delaware,            Subsidiary, Affiliate, or Predecessor
3-11        Inc.                                           of McDonald's                             2/7/2022
                                                           Subsidiary, Affiliate, or Predecessor
3-12        McDonald's Restaurants of Florida, Inc.        of McDonald's                             2/7/2022
            McDonald's Restaurants of Georgia,             Subsidiary, Affiliate, or Predecessor
3-13        Inc.                                           of McDonald's                             2/7/2022
                                                           Subsidiary, Affiliate, or Predecessor
3-14        McDonald's Restaurants of Hawaii, Inc.         of McDonald's                             2/7/2022
                                                           Subsidiary, Affiliate, or Predecessor
3-15        McDonald's Restaurants of Idaho, Inc.          of McDonald's                             2/7/2022
                                                           Subsidiary, Affiliate, or Predecessor
3-16        McDonald's Restaurants of Illinois, Inc.       of McDonald's                             2/7/2022



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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                         Postmark
                       Company Name                                      Details
    #                                                                                               Date

                                                          Subsidiary, Affiliate, or Predecessor
3-17        McDonald's Restaurants of Indiana, Inc.       of McDonald's                            2/7/2022
                                                          Subsidiary, Affiliate, or Predecessor
3-18        McDonald's Restaurants of Iowa, Inc.          of McDonald's                            2/7/2022
                                                          Subsidiary, Affiliate, or Predecessor
3-19        McDonald's Restaurants of Kansas, Inc.        of McDonald's                            2/7/2022
            McDonald's Restaurants of Kentucky,           Subsidiary, Affiliate, or Predecessor
3-20        Inc.                                          of McDonald's                            2/7/2022
            McDonald's Restaurants of Louisiana,          Subsidiary, Affiliate, or Predecessor
3-21        Inc.                                          of McDonald's                            2/7/2022
                                                          Subsidiary, Affiliate, or Predecessor
3-22        McDonald's Restaurants of Maine, Inc.         of McDonald's                            2/7/2022
            McDonald's Restaurants of Maryland,           Subsidiary, Affiliate, or Predecessor
3-23        Inc .                                         of McDonald's                            2/7/2022
            McDonald's Restaurants of                     Subsidiary, Affiliate, or Predecessor
3-24        Massachusetts, Inc.                           of McDonald's                            2/7/2022
            McDonald's Restaurants of Michigan,           Subsidiary, Affiliate, or Predecessor
3-25        Inc.                                          of McDonald's                            2/7/2022
            McDonald's Restaurants of Minnesota,          Subsidiary, Affiliate, or Predecessor
3-26        Inc.                                          of McDonald's                            2/7/2022
            McDonald's Restaurants of Mississippi,        Subsidiary, Affiliate, or Predecessor
3-27        Inc.                                          of McDonald's                            2/7/2022
            McDonald's Restaurants of Missouri,           Subsidiary, Affiliate, or Predecessor
3-28        Inc.                                          of McDonald's                            2/7/2022
            McDonald's Restaurants of Montana,            Subsidiary, Affiliate, or Predecessor
3-29        Inc.                                          of McDonald's                            2/7/2022
            McDonald's Restaurants of Nebraska,           Subsidiary, Affiliate, or Predecessor
3-30        Inc.                                          of McDonald's                            2/7/2022
                                                          Subsidiary, Affiliate, or Predecessor
3-31        McDonald's Restaurants of Nevada, Inc.        of McDonald's                            2/7/2022
            McDonald's Restaurants of New                 Subsidiary, Affiliate, or Predecessor
3-32        Hampshire, Inc.                               of McDonald's                            2/7/2022
            McDonald's Restaurants of New Jersey,         Subsidiary, Affiliate, or Predecessor
3-33        Inc.                                          of McDonald's                            2/7/2022
            McDonald's Restaurants of New                 Subsidiary, Affiliate, or Predecessor
3-34        Mexico, Inc.                                  of McDonald's                            2/7/2022
            McDonald's Restaurants of New York,           Subsidiary, Affiliate, or Predecessor
3-35        Inc.                                          of McDonald's                            2/7/2022
            McDonald's Restaurants of North               Subsidiary, Affiliate, or Predecessor
3-36        Carolina, Inc.                                of McDonald's                            2/7/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                         Postmark
                       Company Name                                      Details
    #                                                                                               Date

            McDonald's Restaurants of North              Subsidiary, Affiliate, or Predecessor
3-37        Dakota, Inc.                                 of McDonald's                             2/7/2022
                                                         Subsidiary, Affiliate, or Predecessor
3-38        McDonald's Restaurants of Ohio, Inc.         of McDonald's                             2/7/2022
            McDonald's Restaurants of Oklahoma,          Subsidiary, Affiliate, or Predecessor
3-39        Inc.                                         of McDonald's                             2/7/2022
                                                         Subsidiary, Affiliate, or Predecessor
3-40        McDonald's Restaurants of Oregon, Inc.       of McDonald's                             2/7/2022
            McDonald's Restaurants of                    Subsidiary, Affiliate, or Predecessor
3-41        Pennsylvania, Inc.                           of McDonald's                             2/7/2022
            McDonald's Restaurants of Rhode              Subsidiary, Affiliate, or Predecessor
3-42        Island, Inc.                                 of McDonald's                             2/7/2022
            McDonald's Restaurants of South              Subsidiary, Affiliate, or Predecessor
3-43        Carolina, Inc.                               of McDonald's                             2/7/2022
            McDonald's Restaurants of South              Subsidiary, Affiliate, or Predecessor
3-44        Dakota, Inc.                                 of McDonald's                             2/7/2022
            McDonald's Restaurants of Tennessee,         Subsidiary, Affiliate, or Predecessor
3-45        Inc.                                         of McDonald's                             2/7/2022
                                                         Subsidiary, Affiliate, or Predecessor
3-46        McDonald's Restaurants of Texas, Inc.        of McDonald's                             2/7/2022
                                                         Subsidiary, Affiliate, or Predecessor
3-47        McDonald's Restaurants of Utah, Inc.         of McDonald's                             2/7/2022
            McDonald's Restaurants of Vermont,           Subsidiary, Affiliate, or Predecessor
3-48        Inc.                                         of McDonald's                             2/7/2022
            McDonald's Restaurants of Virginia,          Subsidiary, Affiliate, or Predecessor
3-49        Inc.                                         of McDonald's                             2/7/2022
            McDonald's Restaurants of Washington,        Subsidiary, Affiliate, or Predecessor
3-50        Inc.                                         of McDonald's                             2/7/2022
            McDonald's Restaurants of West               Subsidiary, Affiliate, or Predecessor
3-51        Virginia, Inc.                               of McDonald's                             2/7/2022
            McDonald's Restaurants of Wisconsin,         Subsidiary, Affiliate, or Predecessor
3-52        Inc.                                         of McDonald's                             2/7/2022
            McDonald's Restaurants of Wyoming,           Subsidiary, Affiliate, or Predecessor
3-53        Inc.                                         of McDonald's                             2/7/2022
                                                         Includes Subsidiaries, Affiliates, and
4           Jetro Holdings, LLC                          Predecessors                             2/14/2022
                                                         Subsidiary, Affiliate, or Predecessor
4-1         JRD Holdings, LLC                            of Jetro Holdings                        2/14/2022
                                                         Subsidiary, Affiliate, or Predecessor
4-2         JRD Unico, Inc.                              of Jetro Holdings                        2/14/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                         Postmark
                         Company Name                                    Details
    #                                                                                               Date

                                                          Subsidiary, Affiliate, or Predecessor
4-3          Jetro Cash and Carry Enterprises, LLC        of Jetro Holdings                       2/14/2022
                                                          Subsidiary, Affiliate, or Predecessor
4-4          Restaurant Depot, LLC                        of Jetro Holdings                       2/14/2022
                                                          Subsidiary, Affiliate, or Predecessor
4-5          Restaurant Depot Enterprises, LLC            of Jetro Holdings                       2/14/2022
             Jetro Management and Development             Subsidiary, Affiliate, or Predecessor
4-6          Corp.                                        of Jetro Holdings                       2/14/2022
                                                          Subsidiary, Affiliate, or Predecessor
4-7          RD America, LLC                              of Jetro Holdings                       2/14/2022
                                                          Subsidiary, Affiliate, or Predecessor
4-8          RD Mass, Inc.                                of Jetro Holdings                       2/14/2022
                                                          Subsidiary, Affiliate, or Predecessor
4-9          RD United, LLC                               of Jetro Holdings                       2/14/2022
                                                          Subsidiary, Affiliate, or Predecessor
4-10         RD-JET, LLC                                  of Jetro Holdings                       2/14/2022
                                                          Subsidiary, Affiliate, or Predecessor
4-11         JRD IMC, LLC                                 of Jetro Holdings                       2/14/2022
                                                          Subsidiary, Affiliate, or Predecessor
4-12         Jetro Acceptance, LLC                        of Jetro Holdings                       2/14/2022
                                                          Subsidiary, Affiliate, or Predecessor
4-13         J etro RDNY LLC                              of Jetro Holdings                       2/14/2022
                                                          Subsidiary, Affiliate, or Predecessor
4-14         JRD Holdings, Inc.                           of Jetro Holdings                       2/14/2022
                                                          Subsidiary, Affiliate, or Predecessor
4-15         Jetro JMDH Holdings, Inc.                    of Jetro Holdings                       2/14/2022
                                                          Subsidiary, Affiliate, or Predecessor
4-16         Jetro Holdings, Inc.                         of Jetro Holdings                       2/14/2022
                                                          Subsidiary, Affiliate, or Predecessor
4-17         Jetro Cash & Carry Enterprises, Inc.         of Jetro Holdings                       2/14/2022
                                                          Subsidiary, Affiliate, or Predecessor
4-18         Restaurant Depot, Inc.                       of Jetro Holdings                       2/14/2022
                                                          Subsidiary, Affiliate, or Predecessor
4-19         Jetro MidAtlantic, Inc.                      of Jetro Holdings                       2/14/2022
                                                          Subsidiary, Affiliate, or Predecessor
4-20         RD America, Inc.                             of Jetro Holdings                       2/14/2022
                                                          Subsidiary, Affiliate, or Predecessor
4-21         Jetro Wholesale Beer Corp.                   of Jetro Holdings                       2/14/2022
                                                          Subsidiary, Affiliate, or Predecessor
4-22         RD/JET, Inc.                                 of Jetro Holdings                       2/14/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                           Postmark
                         Company Name                                      Details
    #                                                                                                 Date

                                                           Subsidiary, Affiliate, or Predecessor
4-23         Jetro Lov, Inc.                               of Jetro Holdings                        2/14/2022
                                                           Subsidiary, Affiliate, or Predecessor
4-24         Jetro RDNY Corp.                              of Jetro Holdings                        2/14/2022
                                                           Subsidiary, Affiliate, or Predecessor
4-25         RD Food Services LP                           of Jetro Holdings                        2/14/2022
                                                           Subsidiary, Affiliate, or Predecessor
4-26         RDNY, L.P.                                    of Jetro Holdings                        2/14/2022
                                                           Subsidiary, Affiliate, or Predecessor
4-27         RDE Elmhurst Operations, Inc.                 of Jetro Holdings                        2/14/2022
                                                           Subsidiary, Affiliate, or Predecessor
4-28         Restaurant Depot Enterprises, Inc.            of Jetro Holdings                        2/14/2022
                                                           Subsidiary, Affiliate, or Predecessor
4-29         Hyco Restaurant Supply Co., Inc.              of Jetro Holdings                        2/14/2022
                                                           Includes Subsidiaries, Affiliates, and
5            Thurston Foods, Inc                           Predecessors                             2/17/2022
             Thurston Foods, Inc (Assignee of Prime        Subsidiary, Affiliate, or Predecessor
5-1          Source Foods)                                 of Thurston Foods, Inc                   2/17/2022
             Thurston Foods, Inc (Assignee of Dot          Subsidiary, Affiliate, or Predecessor
5-2          Foods, Inc.)                                  of Thurston Foods, Inc                   2/17/2022
                                                           Includes Subsidiaries, Affiliates, and
6            BJ's Wholesale Club, Inc                      Predecessors                             2/14/2022
             BJ's Wholesale Club, Inc. (as assignee        Subsidiary, Affiliate, or Predecessor
6-1          of Burris Logistics)                          of BJ's Wholesale Club, Inc.             2/14/2022
                                                           Includes Subsidiaries, Affiliates, and
7            Feeser's, Inc "Feeser's")                     Predecessors- Did not provide list       2/15/2022
             Wood-Fruitticher Grocery Company,             Includes Subsidiaries, Affiliates, and
8            Inc                                           Predecessors                             2/14/2022
                                                           Subsidiary, Affiliate, or Predecessor
             Wood-Fruitticher Produce Company,             of Wood-Fruitticher Grocery
8-1          Inc.                                          Company, Inc.                            2/14/2022
                                                           Subsidiary, Affiliate, or Predecessor
                                                           of Wood-Fruitticher Grocery
8-2          Wood Fruitticher                              Company, Inc.                            2/14/2022
                                                           Subsidiary, Affiliate, or Predecessor
                                                           of Wood-Fruitticher Grocery
8-3          Wood Fruitticher Foodservice                  Company, Inc.                            2/14/2022
                                                           Subsidiary, Affiliate, or Predecessor
                                                           of Wood-Fruitticher Grocery
8-4          Wood Fruitticher Grocery                      Company, Inc.                            2/14/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                      Postmark
                        Company Name                                 Details
    #                                                                                            Date

                                                      Subsidiary, Affiliate, or Predecessor
                                                      of Wood-Fruitticher Grocery
8-5          Wood Fruitticher Grocery Company         Company, Inc.                            2/14/2022
                                                      Subsidiary, Affiliate, or Predecessor
             Wood Fruitticher Grocery Company,        of Wood-Fruitticher Grocery
8-6          Inc.                                     Company, Inc.                            2/14/2022
                                                      Subsidiary, Affiliate, or Predecessor
                                                      of Wood-Fruitticher Grocery
8-7          Wood Farms                               Company, Inc.                            2/14/2022
                                                      Subsidiary, Affiliate, or Predecessor
                                                      of Wood-Fruitticher Grocery
8-8          Wood-Fruitticher                         Company, Inc.                            2/14/2022
                                                      Subsidiary, Affiliate, or Predecessor
                                                      of Wood-Fruitticher Grocery
8-9          Wood-Fruitticher Foodservice             Company, Inc.                            2/14/2022
                                                      Subsidiary, Affiliate, or Predecessor
                                                      of Wood-Fruitticher Grocery
8-10         Wood-Fruitticher Grocery                 Company, Inc.                            2/14/2022
                                                      Subsidiary, Affiliate, or Predecessor
                                                      of Wood-Fruitticher Grocery
8-11         Wood-Fruitticher Grocery Company         Company, Inc.                            2/14/2022
             Poultry Products Company of New          Includes Subsidiaries, Affiliates, and
9            England LLC                              Predecessors                             2/16/2022
                                                      Subsidiary, Affiliate, or Predecessor
                                                      of Poultry Products Company of New
9-1          Prime Source Food                        England LLC                              2/16/2022
                                                      Subsidiary, Affiliate, or Predecessor
                                                      of Poultry Products Company of New
9-2          Prime Source Purchasing                  England LLC                              2/16/2022
                                                      Subsidiary, Affiliate, or Predecessor
             Poultry Products Company of New          of Poultry Products Company of New
9-3          England, Inc.                            England LLC                              2/16/2022
                                                      Subsidiary, Affiliate, or Predecessor
                                                      of Poultry Products Company of New
9-4          Poultry Products Company LLC             England LLC                              2/16/2022
                                                      Subsidiary, Affiliate, or Predecessor
                                                      of Poultry Products Company of New
9-5          Poultry Products Company, Inc.           England LLC                              2/16/2022




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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
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                         Company Name                                    Details
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                                                          Subsidiary, Affiliate, or Predecessor
                                                          of Poultry Products Company of New
9-6          PPNE                                         England LLC                             2/16/2022
                                                          Subsidiary, Affiliate, or Predecessor
                                                          of Poultry Products Company of New
9-7          Prime Source Foods                           England LLC                             2/16/2022
                                                          Subsidiary, Affiliate, or Predecessor
             Prime Source Foods (Formerly Poultry         of Poultry Products Company of New
9-8          Products Northeast)                          England LLC                             2/16/2022
                                                          Subsidiary, Affiliate, or Predecessor
                                                          of Poultry Products Company of New
9-9          Poultry Products of Maine LLC                England LLC                             2/16/2022
                                                          Subsidiary, Affiliate, or Predecessor
                                                          of Poultry Products Company of New
9-10         Poultry Products of Maine, Inc.              England LLC                             2/16/2022
                                                          Subsidiary, Affiliate, or Predecessor
                                                          of Poultry Products Company of New
9-11         Poultry Products of Connecticut LLC          England LLC                             2/16/2022
                                                          Subsidiary, Affiliate, or Predecessor
                                                          of Poultry Products Company of New
9-12         Poultry Products of Connecticut, Inc.        England LLC                             2/16/2022
                                                          Subsidiary, Affiliate, or Predecessor
                                                          of Poultry Products Company of New
9-13         Poultry Products                             England LLC                             2/16/2022
                                                          Subsidiary, Affiliate, or Predecessor
             Poultry Products Company of                  of Poultry Products Company of New
9-14         Connecticut, Inc.                            England LLC                             2/16/2022
                                                          Subsidiary, Affiliate, or Predecessor
             Poultry Products Company of                  of Poultry Products Company of New
9-15         Connecticut LLC                              England LLC                             2/16/2022
                                                          Subsidiary, Affiliate, or Predecessor
                                                          of Poultry Products Company of New
9-16         Poultry Products Northeast                   England LLC                             2/16/2022
                                                          Collective; Includes Subsidiaries,
10           Sherwood                                     Affiliates, and Predecessors            2/16/2022
                                                          Subsidiary, Affiliate, or Predecessor
                                                          of Sherwood Food Distributors,
                                                          L.L.C.; Harvest Meat Company, Inc.;
10-1         Del Mar Holding LLC                          Western Boxed Meat Distributors,        2/16/2022



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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                       Postmark
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                                                        Inc.; and Hamilton Meat, LLC
                                                        Subsidiaries


                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Sherwood Food Distributors,
                                                        L.L.C.; Harvest Meat Company, Inc.;
                                                        Western Boxed Meat Distributors,
                                                        Inc.; and Hamilton Meat, LLC
10-2         Del Mar Acquisition Inc.                   Subsidiaries                            2/16/2022
                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Sherwood Food Distributors,
                                                        L.L.C.; Harvest Meat Company, Inc.;
                                                        Western Boxed Meat Distributors,
                                                        Inc.; and Hamilton Meat, LLC
10-3         Surfliner Holdings, Inc.                   Subsidiaries                            2/16/2022
                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Sherwood Food Distributors,
                                                        L.L.C.; Harvest Meat Company, Inc.;
                                                        Western Boxed Meat Distributors,
                                                        Inc.; and Hamilton Meat, LLC
10-4         Sand Dollar Holdings, Inc.                 Subsidiaries                            2/16/2022
                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Sherwood Food Distributors,
                                                        L.L.C.; Harvest Meat Company, Inc.;
                                                        Western Boxed Meat Distributors,
                                                        Inc.; and Hamilton Meat, LLC
10-5         Cascade Food Brokers, Inc.                 Subsidiaries                            2/16/2022
                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Sherwood Food Distributors,
                                                        L.L.C.; Harvest Meat Company, Inc.;
                                                        Western Boxed Meat Distributors,
                                                        Inc.; and Hamilton Meat, LLC
10-6         LAMCP Capital, LLC                         Subsidiaries                            2/16/2022
                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Sherwood Food Distributors,
                                                        L.L.C.; Harvest Meat Company, Inc.;
                                                        Western Boxed Meat Distributors,
                                                        Inc.; and Hamilton Meat, LLC
10-7         Gally Investments S de R.L. de C.V.        Subsidiaries                            2/16/2022



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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
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Exclusion                                                                                         Postmark
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                                                          Subsidiary, Affiliate, or Predecessor
                                                          of Sherwood Food Distributors,
                                                          L.L.C.; Harvest Meat Company, Inc.;
                                                          Western Boxed Meat Distributors,
                                                          Inc.; and Hamilton Meat, LLC
10-8         SFD Acquisition LLC                          Subsidiaries                            2/16/2022
                                                          Subsidiary, Affiliate, or Predecessor
                                                          of Sherwood Food Distributors,
                                                          L.L.C.; Harvest Meat Company, Inc.;
                                                          Western Boxed Meat Distributors,
                                                          Inc.; and Hamilton Meat, LLC
10-9         SFD Transportation Corp.                     Subsidiaries                            2/16/2022
                                                          Subsidiary, Affiliate, or Predecessor
                                                          of Sherwood Food Distributors,
                                                          L.L.C.; Harvest Meat Company, Inc.;
                                                          Western Boxed Meat Distributors,
                                                          Inc.; and Hamilton Meat, LLC
10-10        SFD Company LLC                              Subsidiaries                            2/16/2022
                                                          Subsidiary, Affiliate, or Predecessor
                                                          of Sherwood Food Distributors,
                                                          L.L.C.; Harvest Meat Company, Inc.;
                                                          Western Boxed Meat Distributors,
                                                          Inc.; and Hamilton Meat, LLC
10-11        Southern Fresh Foods, LLC                    Subsidiaries                            2/16/2022
                                                          Subsidiary, Affiliate, or Predecessor
                                                          of Sherwood Food Distributors,
                                                          L.L.C.; Harvest Meat Company, Inc.;
                                                          Western Boxed Meat Distributors,
                                                          Inc.; and Hamilton Meat, LLC
10-12        Sherwood Food Distributors                   Subsidiaries                            2/16/2022
                                                          Subsidiary, Affiliate, or Predecessor
                                                          of Sherwood Food Distributors,
                                                          L.L.C.; Harvest Meat Company, Inc.;
                                                          Western Boxed Meat Distributors,
             Harvest Meat Company, Inc. d/b/a             Inc.; and Hamilton Meat, LLC
10-13        Harvest Food Distributors                    Subsidiaries                            2/16/2022
                                                          Subsidiary, Affiliate, or Predecessor
                                                          of Sherwood Food Distributors,
             Western Boxed Meat Distributors, Inc.        L.L.C.; Harvest Meat Company, Inc.;
10-14        a/k/a WBX                                    Western Boxed Meat Distributors,        2/16/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
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                                                       Inc.; and Hamilton Meat, LLC
                                                       Subsidiaries


                                                       Subsidiary, Affiliate, or Predecessor
                                                       of Sherwood Food Distributors,
                                                       L.L.C.; Harvest Meat Company, Inc.;
                                                       Western Boxed Meat Distributors,
             Hamilton Meat, LLC d/b/a Hamilton         Inc.; and Hamilton Meat, LLC
10-15        Meats & Provisions                        Subsidiaries                             2/16/2022
                                                       Includes Subsidaries, Predecessors,
11           Walmart                                   and Related Companies                    2/18/2022
                                                       Subsidiary, Affiliate, or Predecessor
11-1         Wal-Mart Stores, Inc.                     of Walmart Inc.                          2/18/2022
                                                       Subsidiary, Affiliate, or Predecessor
11-2         Wal-Mart Stores Texas, LLC                of Walmart Inc.                          2/18/2022
                                                       Subsidiary, Affiliate, or Predecessor
11-3         Wal-Mart Louisiana, LLC                   of Walmart Inc.                          2/18/2022
                                                       Subsidiary, Affiliate, or Predecessor
11-4         Wal-Mart Stores Arkansas, LLC             of Walmart Inc.                          2/18/2022
                                                       Subsidiary, Affiliate, or Predecessor
11-5         Wal-Mart Sotres East LP                   of Walmart Inc.                          2/18/2022
                                                       Subsidiary, Affiliate, or Predecessor
11-6         Sam's West, Inc.                          of Walmart Inc.                          2/18/2022
                                                       Subsidiary, Affiliate, or Predecessor
11-7         Sam's East, Inc.                          of Walmart Inc.
             Costco Wholesale Corporation              Includes Subsidiaries, Affiliates, and
12           ("Costco")                                Predecessors- Did not provide list       2/21/2022
                                                       Includes Subsidiaries, Affiliates, and
13           Panda                                     Predecessors                             2/25/2022
                                                       Subsidiary, Affiliate, or Predecessor
13-1         Panda Express, Inc.                       of Panda Restaurant Group, Inc.          2/25/2022
                                                       Subsidiary, Affiliate, or Predecessor
13-2         Panda Express Denver, Inc.                of Panda Restaurant Group, Inc.          2/25/2022
                                                       Subsidiary, Affiliate, or Predecessor
13-3         Panda Inn, Inc.                           of Panda Restaurant Group, Inc.          2/25/2022
                                                       Subsidiary, Affiliate, or Predecessor
13-4         Hibachi-San, Inc.                         of Panda Restaurant Group, Inc.          2/25/2022
             Panda Restaurant Group, Inc. (as     Subsidiary, Affiliate, or Predecessor
13-5         assignee of The SYGMA Network, Inc.) of Panda Restaurant Group, Inc.               2/25/2022


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Exclusion                                                                                           Postmark
                        Company Name                                       Details
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             Panda Restaurant Group, Inc. (as              Subsidiary, Affiliate, or Predecessor
13-6         assignee of Sysco Corporation)                of Panda Restaurant Group, Inc.          2/25/2022
             Panda Restaurant Group, Inc. (as              Subsidiary, Affiliate, or Predecessor
13-7         assignee ofMcLane Foodservice, Inc.)          of Panda Restaurant Group, Inc.          2/25/2022
             Panda Restaurant Group, Inc. (as
             assignee ofY. Hata & Company,                 Subsidiary, Affiliate, or Predecessor
13-8         Limited)                                      of Panda Restaurant Group, Inc.          2/25/2022
             Panda Restaurant Group, Inc. (as              Subsidiary, Affiliate, or Predecessor
13-9         assignee of Nicholas and Company)             of Panda Restaurant Group, Inc.          2/25/2022
             Panda Restaurant Group, Inc. (as
             assignee of Plaza Warehouse & Realty          Subsidiary, Affiliate, or Predecessor
13-10        Corporation d/b/a Plaza Food Systems)         of Panda Restaurant Group, Inc.          2/25/2022
             Panda Restaurant Group, Inc. (as              Subsidiary, Affiliate, or Predecessor
13-11        assignee of Overhill Farms, Inc.)             of Panda Restaurant Group, Inc.          2/25/2022
             Panda Restaurant Group, Inc. (as
             assignee ofK2D, Inc. d/b/a Colorado           Subsidiary, Affiliate, or Predecessor
13-12        Premium LLC)                                  of Panda Restaurant Group, Inc.          2/25/2022
                                                           Includes Subsidiaries, Affiliates, and
14           Aramark                                       Predecessors                             2/17/2022
                                                           Subsidiary, Affiliate, or Predecessor
                                                           of Aramark Food and Support
14-1         Aramark                                       Services Group, Inc.                     2/17/2022
                                                           Subsidiary, Affiliate, or Predecessor
             Aramark Intermediate HoldCo                   of Aramark Food and Support
14-2         Corporation                                   Services Group, Inc.                     2/17/2022
                                                           Subsidiary, Affiliate, or Predecessor
                                                           of Aramark Food and Support
14-3         Aramark Services, Inc.                        Services Group, Inc.                     2/17/2022
                                                           Subsidiary, Affiliate, or Predecessor
             Aramark (as assignee of Sysco                 of Aramark Food and Support
14-4         Corporation)                                  Services Group, Inc.                     2/17/2022
                                                           Subsidiary, Affiliate, or Predecessor
             Aramark (as assignee of Single Source,        of Aramark Food and Support
14-5         Inc.)                                         Services Group, Inc.                     2/17/2022
                                                           Subsidiary, Affiliate, or Predecessor
                                                           of Aramark Food and Support
14-6         1st & Fresh, LLC                              Services Group, Inc.                     2/17/2022




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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
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Exclusion                                                                                       Postmark
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                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Aramark Food and Support
14-7         Active Industrial Uniform Co., LLC         Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Aramark Food and Support
14-8         Alcatraz Hospitality, LLC                  Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Aramark Food and Support
14-9         American Snack & Beverage, LLC             Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Aramark Food and Support
14-10        AmeriPride Services, LLC                   Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Aramark Food and Support
14-11        Aramark American Food Services, LLC        Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Aramark Food and Support
14-12        Aramark Asia Management, LLC               Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
             Aramark Aviation Services Limited          of Aramark Food and Support
14-13        Partnership                                Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Aramark Food and Support
14-14        Aramark Business & Industry, LLC           Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Aramark Food and Support
14-15        Aramark Business Center, LLC               Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
             Aramark Business Dining Services of        of Aramark Food and Support
14-16        Texas, LLC                                 Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Aramark Food and Support
14-17        Aramark Business Facilities, LLC           Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Aramark Food and Support
14-18        Aramark Campus, LLC                        Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
             Aramark Cleanroom Services (Puerto         of Aramark Food and Support
14-19        Rico), Inc.                                Services Group, Inc.                    2/17/2022



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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
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Exclusion                                                                                      Postmark
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                                                       Subsidiary, Affiliate, or Predecessor
            Aramark Concession Services Joint          of Aramark Food and Support
14-20       Venture                                    Services Group, Inc.                    2/17/2022
                                                       Subsidiary, Affiliate, or Predecessor
                                                       of Aramark Food and Support
14-21       Aramark Confection, LLC                    Services Group, Inc.                    2/17/2022
                                                       Subsidiary, Affiliate, or Predecessor
            Aramark Construction and Energy            of Aramark Food and Support
14-22       Services, LLC                              Services Group, Inc.                    2/17/2022
                                                       Subsidiary, Affiliate, or Predecessor
                                                       of Aramark Food and Support
14-23       Alt. Name: Aramark Asset Solutions         Services Group, Inc.                    2/17/2022
                                                       Subsidiary, Affiliate, or Predecessor
                                                       of Aramark Food and Support
14-24       Aramark Construction Services, Inc.        Services Group, Inc.                    2/17/2022
                                                       Subsidiary, Affiliate, or Predecessor
                                                       of Aramark Food and Support
14-25       Aramark Consumer Discount Company          Services Group, Inc.                    2/17/2022
                                                       Subsidiary, Affiliate, or Predecessor
                                                       of Aramark Food and Support
14-26       Aramark Correctional Services, LLC         Services Group, Inc.                    2/17/2022
                                                       Subsidiary, Affiliate, or Predecessor
                                                       of Aramark Food and Support
14-27       Aramark Distribution Services, LLC         Services Group, Inc.                    2/17/2022
                                                       Subsidiary, Affiliate, or Predecessor
                                                       of Aramark Food and Support
14-28       Aramark Educational Group, LLC             Services Group, Inc.                    2/17/2022
                                                       Subsidiary, Affiliate, or Predecessor
            Aramark Educational Services of Texas,     of Aramark Food and Support
14-29       LLC                                        Services Group, Inc.                    2/17/2022
                                                       Subsidiary, Affiliate, or Predecessor
            Aramark Educational Services of            of Aramark Food and Support
14-30       Vermont, Inc.                              Services Group, Inc.                    2/17/2022
                                                       Subsidiary, Affiliate, or Predecessor
                                                       of Aramark Food and Support
14-31       Aramark Educational Services, LLC          Services Group, Inc.                    2/17/2022
                                                       Subsidiary, Affiliate, or Predecessor
                                                       of Aramark Food and Support
14-32       Aramark Entertainment, LLC                 Services Group, Inc.                    2/17/2022



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Exclusion                                                                                       Postmark
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                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Aramark Food and Support
14-33       Aramark Equipment, LLC                      Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Aramark Food and Support
14-34       Aramark Facility Services, LLC              Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Aramark Food and Support
14-35       Aramark FHC Business Services, LLC          Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Aramark Food and Support
14-36       Aramark FHC Campus Services, LLC            Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
            Aramark FHC Correctional Services,          of Aramark Food and Support
14-37       LLC                                         Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
            Aramark FHC Healthcare Support              of Aramark Food and Support
14-38       Services, LLC                               Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Aramark Food and Support
14-39       Aramark FHC Kansas, Inc.                    Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
            Aramark FHC Refreshment Services,           of Aramark Food and Support
14-40       LLC                                         Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
            Aramark FHC School Support Services,        of Aramark Food and Support
14-41       LLC                                         Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Aramark Food and Support
14-42       Aramark FHC Services, LLC                   Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
            Aramark FHC Sports and Entertainment        of Aramark Food and Support
14-43       Services, LLC                               Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Aramark Food and Support
14-44       Aramark FHC, LLC                            Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
            Aramark Food and Support Services           of Aramark Food and Support
14-45       Group, Inc.                                 Services Group, Inc.                    2/17/2022



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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
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Exclusion                                                                                  Postmark
                       Company Name                                 Details
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                                                   Subsidiary, Affiliate, or Predecessor
                                                   of Aramark Food and Support
14-46       Aramark Food Service of Texas, LLC     Services Group, Inc.                    2/17/2022
                                                   Subsidiary, Affiliate, or Predecessor
                                                   of Aramark Food and Support
14-47       Aramark Food Service, LLC              Services Group, Inc.                    2/17/2022
                                                   Subsidiary, Affiliate, or Predecessor
                                                   of Aramark Food and Support
14-48       Aramark FSM, LLC                       Services Group, Inc.                    2/17/2022
                                                   Subsidiary, Affiliate, or Predecessor
                                                   of Aramark Food and Support
14-49       Aramark Global, Inc.                   Services Group, Inc.                    2/17/2022
                                                   Subsidiary, Affiliate, or Predecessor
            Aramark Healthcare Support Services of of Aramark Food and Support
14-50       the Virgin Islands, Inc.               Services Group, Inc.                    2/17/2022
                                                   Subsidiary, Affiliate, or Predecessor
            Aramark Healthcare Support Services,   of Aramark Food and Support
14-51       LLC                                    Services Group, Inc.                    2/17/2022
                                                   Subsidiary, Affiliate, or Predecessor
                                                   of Aramark Food and Support
14-52       Aramark Industrial Services, LLC       Services Group, Inc.                    2/17/2022
                                                   Subsidiary, Affiliate, or Predecessor
                                                   of Aramark Food and Support
14-53       Aramark Japan, LLC                     Services Group, Inc.                    2/17/2022
                                                   Subsidiary, Affiliate, or Predecessor
                                                   of Aramark Food and Support
14-54       Aramark Lakewood Associates            Services Group, Inc.                    2/17/2022
                                                   Subsidiary, Affiliate, or Predecessor
            Aramark Management Services Limited of Aramark Food and Support
14-55       Partnership                            Services Group, Inc.                    2/17/2022
                                                   Subsidiary, Affiliate, or Predecessor
                                                   of Aramark Food and Support
14-56       Aramark Management, LLC                Services Group, Inc.                    2/17/2022
                                                   Subsidiary, Affiliate, or Predecessor
                                                   of Aramark Food and Support
14-57       Aramark Mexico Group, LLC              Services Group, Inc.                    2/17/2022
                                                   Subsidiary, Affiliate, or Predecessor
                                                   of Aramark Food and Support
14-58       Aramark Organizational Services, LLC Services Group, Inc.                      2/17/2022



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Exclusion                                                                                      Postmark
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                                                       Subsidiary, Affiliate, or Predecessor
                                                       of Aramark Food and Support
14-59       Aramark Personnel Services, LLC            Services Group, Inc.                    2/17/2022
                                                       Subsidiary, Affiliate, or Predecessor
                                                       of Aramark Food and Support
14-60       Aramark Processing, LLC                    Services Group, Inc.                    2/17/2022
                                                       Subsidiary, Affiliate, or Predecessor
            Aramark Qualified Opportunity Fund,        of Aramark Food and Support
14-61       LLC                                        Services Group, Inc.                    2/17/2022
                                                       Subsidiary, Affiliate, or Predecessor
                                                       of Aramark Food and Support
14-62       Aramark Rail Services, LLC                 Services Group, Inc.                    2/17/2022
                                                       Subsidiary, Affiliate, or Predecessor
                                                       of Aramark Food and Support
14-63       Aramark RBI, Inc.                          Services Group, Inc.                    2/17/2022
                                                       Subsidiary, Affiliate, or Predecessor
                                                       of Aramark Food and Support
14-64       Aramark Receivables, LLC                   Services Group, Inc.                    2/17/2022
                                                       Subsidiary, Affiliate, or Predecessor
                                                       of Aramark Food and Support
14-65       Aramark Refreshment Group, Inc.            Services Group, Inc.                    2/17/2022
                                                       Subsidiary, Affiliate, or Predecessor
            Aramark Refreshment Services of            of Aramark Food and Support
14-66       Tampa, LLC                                 Services Group, Inc.                    2/17/2022
                                                       Subsidiary, Affiliate, or Predecessor
                                                       of Aramark Food and Support
14-67       Aramark Refreshment Services, LLC          Services Group, Inc.                    2/17/2022
                                                       Subsidiary, Affiliate, or Predecessor
                                                       of Aramark Food and Support
14-68       Aramark S&E/QCF Joint Venture              Services Group, Inc.                    2/17/2022
                                                       Subsidiary, Affiliate, or Predecessor
                                                       of Aramark Food and Support
14-69       Aramark Schools Facilities, LLC            Services Group, Inc.                    2/17/2022
                                                       Subsidiary, Affiliate, or Predecessor
                                                       of Aramark Food and Support
14-70       Aramark Schools, LLC                       Services Group, Inc.                    2/17/2022
                                                       Subsidiary, Affiliate, or Predecessor
                                                       of Aramark Food and Support
14-71       Aramark SCM, Inc.                          Services Group, Inc.                    2/17/2022



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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                        Postmark
                       Company Name                                     Details
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                                                         Subsidiary, Affiliate, or Predecessor
                                                         of Aramark Food and Support
14-72       Aramark Senior Living Services, LLC          Services Group, Inc.                    2/17/2022
                                                         Subsidiary, Affiliate, or Predecessor
                                                         of Aramark Food and Support
14-73       Aramark Services of Kansas, Inc.             Services Group, Inc.                    2/17/2022
                                                         Subsidiary, Affiliate, or Predecessor
                                                         of Aramark Food and Support
14-74       Aramark Services of Puerto Rico, Inc.        Services Group, Inc.                    2/17/2022
                                                         Subsidiary, Affiliate, or Predecessor
                                                         of Aramark Food and Support
14-75       Aramark SMMS LLC                             Services Group, Inc.                    2/17/2022
                                                         Subsidiary, Affiliate, or Predecessor
                                                         of Aramark Food and Support
14-76       Aramark SMMS Real Estate LLC                 Services Group, Inc.                    2/17/2022
                                                         Subsidiary, Affiliate, or Predecessor
            Aramark Sports and Entertainment             of Aramark Food and Support
14-77       Group, LLC                                   Services Group, Inc.                    2/17/2022
                                                         Subsidiary, Affiliate, or Predecessor
            Aramark Sports and Entertainment             of Aramark Food and Support
14-78       Services of Texas, LLC                       Services Group, Inc.                    2/17/2022
                                                         Subsidiary, Affiliate, or Predecessor
            Aramark Sports and Entertainment             of Aramark Food and Support
14-79       Services, LLC                                Services Group, Inc.                    2/17/2022
                                                         Subsidiary, Affiliate, or Predecessor
                                                         of Aramark Food and Support
14-80       Aramark Sports Facilities, LLC               Services Group, Inc.                    2/17/2022
                                                         Subsidiary, Affiliate, or Predecessor
                                                         of Aramark Food and Support
14-81       Aramark Sports, LLC                          Services Group, Inc.                    2/17/2022
                                                         Subsidiary, Affiliate, or Predecessor
            Aramark Technical Services North             of Aramark Food and Support
14-82       Carolina, Inc.                               Services Group, Inc.                    2/17/2022
                                                         Subsidiary, Affiliate, or Predecessor
            Aramark Technical Services of New            of Aramark Food and Support
14-83       York, LLC                                    Services Group, Inc.                    2/17/2022
                                                         Subsidiary, Affiliate, or Predecessor
                                                         of Aramark Food and Support
14-84       Aramark Togwotee, LLC                        Services Group, Inc.                    2/17/2022



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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                       Postmark
                       Company Name                                    Details
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                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Aramark Food and Support
14-85       Aramark Trademark Services, Inc.            Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Aramark Food and Support
14-86       Aramark U.S. Offshore Services, LLC         Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
            Aramark Uniform & Career Apparel            of Aramark Food and Support
14-87       Group, Inc.                                 Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
            Aramark Uniform & Career Apparel,           of Aramark Food and Support
14-88       LLC                                         Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
            Alt. Name: Aramark Uniform Services;        of Aramark Food and Support
14-89       Wearguard-Crest                             Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
            Aramark Uniform Manufacturing               of Aramark Food and Support
14-90       Company                                     Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
            Aramark Uniform Services                    of Aramark Food and Support
14-91       (Matchpoint) LLC                            Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
            Aramark Uniform Services (Rochester)        of Aramark Food and Support
14-92       LLC                                         Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
            Aramark Uniform Services (Supply            of Aramark Food and Support
14-93       Chain), LLC                                 Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
            Aramark Uniform Services (Syracuse)         of Aramark Food and Support
14-94       LLC                                         Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
            Aramark Uniform Services (Texas)            of Aramark Food and Support
14-95       LLC                                         Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
            Aramark Uniform Services (West              of Aramark Food and Support
14-96       Adams) LLC                                  Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Aramark Food and Support
14-97       Aramark Venue Services, Inc.                Services Group, Inc.                    2/17/2022



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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
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Exclusion                                                                                      Postmark
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                                                       Subsidiary, Affiliate, or Predecessor
                                                       of Aramark Food and Support
14-98       Aramark WTC, LLC                           Services Group, Inc.                    2/17/2022
                                                       Subsidiary, Affiliate, or Predecessor
                                                       of Aramark Food and Support
14-99       Aramark/Giacometti Joint Venture           Services Group, Inc.                    2/17/2022
                                                       Subsidiary, Affiliate, or Predecessor
                                                       of Aramark Food and Support
14-100      Aramark/Globetrotters, LLC                 Services Group, Inc.                    2/17/2022
                                                       Subsidiary, Affiliate, or Predecessor
            Aramark/GM Concessions Joint               of Aramark Food and Support
14-101      Venture                                    Services Group, Inc.                    2/17/2022
                                                       Subsidiary, Affiliate, or Predecessor
                                                       of Aramark Food and Support
14-102      Aramark/Gourmet HE-1, LLC                  Services Group, Inc.                    2/17/2022
                                                       Subsidiary, Affiliate, or Predecessor
                                                       of Aramark Food and Support
14-103      Aramark/Gourmet HE-2, LLC                  Services Group, Inc.                    2/17/2022
                                                       Subsidiary, Affiliate, or Predecessor
            Aramark/Hart Lyman Entertainment,          of Aramark Food and Support
14-104      LLC                                        Services Group, Inc.                    2/17/2022
                                                       Subsidiary, Affiliate, or Predecessor
                                                       of Aramark Food and Support
14-105      Aramark/HF Company                         Services Group, Inc.                    2/17/2022
                                                       Subsidiary, Affiliate, or Predecessor
                                                       of Aramark Food and Support
14-106      Aramark/HMS, LLC                           Services Group, Inc.                    2/17/2022
                                                       Subsidiary, Affiliate, or Predecessor
            Aramark/Martin's Stadium Concession        of Aramark Food and Support
14-107      Services OP ACY Joint Venture              Services Group, Inc.                    2/17/2022
                                                       Subsidiary, Affiliate, or Predecessor
                                                       of Aramark Food and Support
14-108      Aramark/QHC LLC                            Services Group, Inc.                    2/17/2022
                                                       Subsidiary, Affiliate, or Predecessor
                                                       of Aramark Food and Support
14-109      Aramark/SFS Joint Venture                  Services Group, Inc.                    2/17/2022
                                                       Subsidiary, Affiliate, or Predecessor
            Aramark-Chugach Alaska Services,           of Aramark Food and Support
14-110      LLC                                        Services Group, Inc.                    2/17/2022



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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
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Exclusion                                                                                       Postmark
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                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Aramark Food and Support
14-111      Aramark-Clarksville Club, Inc.              Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Aramark Food and Support
14-112      Aramark-FINCO of Texas, LLC                 Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Aramark Food and Support
14-113      Aramark-Gourmet DPS, LLC                    Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Aramark Food and Support
14-114      Aramark-KW AME of St. Louis, LLC            Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Aramark Food and Support
14-115      Aramark-SFS Healthcare JV L.L.C.            Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Aramark Food and Support
14-116      A vendra Gaming, LLC                        Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Aramark Food and Support
14-117      A vendra Replenishment, LLC                 Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Aramark Food and Support
14-118      Avendra, LLC                                Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Aramark Food and Support
14-119      Brand Coffee Service, Inc.                  Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Aramark Food and Support
14-120      BuyEfficient, LLC                           Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Aramark Food and Support
14-121      Canyonlands Rafting Hospitality, LLC        Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Aramark Food and Support
14-122      Cliff House Hospitality, LLC                Services Group, Inc.                    2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Aramark Food and Support
14-123      Corporate Coffee Systems LLC                Services Group, Inc.                    2/17/2022



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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
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Exclusion                                                                                         Postmark
                       Company Name                                      Details
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                                                          Subsidiary, Affiliate, or Predecessor
                                                          of Aramark Food and Support
14-124      Crater Lake Hospitality, LLC                  Services Group, Inc.                    2/17/2022
                                                          Subsidiary, Affiliate, or Predecessor
                                                          of Aramark Food and Support
14-125      D.G. Maren II, Inc.                           Services Group, Inc.                    2/17/2022
                                                          Subsidiary, Affiliate, or Predecessor
                                                          of Aramark Food and Support
14-126      Delicious on West Street LLC                  Services Group, Inc.                    2/17/2022
                                                          Subsidiary, Affiliate, or Predecessor
                                                          of Aramark Food and Support
14-127      Delsac VIII, LLC                              Services Group, Inc.                    2/17/2022
                                                          Subsidiary, Affiliate, or Predecessor
            Doyon/Aramark Denali National Park            of Aramark Food and Support
14-128      Concession Joint Venture                      Services Group, Inc.                    2/17/2022
                                                          Subsidiary, Affiliate, or Predecessor
                                                          of Aramark Food and Support
14-129      EverSafe Services, LLC                        Services Group, Inc.                    2/17/2022
                                                          Subsidiary, Affiliate, or Predecessor
                                                          of Aramark Food and Support
14-130      Filterfresh Coffee Service, LLC               Services Group, Inc.                    2/17/2022
                                                          Subsidiary, Affiliate, or Predecessor
                                                          of Aramark Food and Support
14-131      Filterfresh Franchise Group, LLC              Services Group, Inc.                    2/17/2022
                                                          Subsidiary, Affiliate, or Predecessor
                                                          of Aramark Food and Support
14-132      Fine Host Holdings, LLC                       Services Group, Inc.                    2/17/2022
                                                          Subsidiary, Affiliate, or Predecessor
                                                          of Aramark Food and Support
14-133      Freedom Ferry Services, LLC                   Services Group, Inc.                    2/17/2022
                                                          Subsidiary, Affiliate, or Predecessor
            Glacier Bay National Park and Preserve        of Aramark Food and Support
14-134      Concessions, LLC                              Services Group, Inc.                    2/17/2022
                                                          Subsidiary, Affiliate, or Predecessor
                                                          of Aramark Food and Support
14-135      Glen Canyon Rafting Hospitality, LLC          Services Group, Inc.                    2/17/2022
                                                          Subsidiary, Affiliate, or Predecessor
                                                          of Aramark Food and Support
14-136      Good Uncle Services, LLC                      Services Group, Inc.                    2/17/2022



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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
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Exclusion                                                                                        Postmark
                       Company Name                                     Details
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                                                         Subsidiary, Affiliate, or Predecessor
                                                         of Aramark Food and Support
14-137      Gourmet Aramark Services, LLC                Services Group, Inc.                    2/17/2022
                                                         Subsidiary, Affiliate, or Predecessor
                                                         of Aramark Food and Support
14-138      Guaranty Energy Group 1981                   Services Group, Inc.                    2/17/2022
                                                         Subsidiary, Affiliate, or Predecessor
                                                         of Aramark Food and Support
14-139      Harrison Conference Associates, LLC          Services Group, Inc.                    2/17/2022
                                                         Subsidiary, Affiliate, or Predecessor
            Harrison Conference Services ofNorth         of Aramark Food and Support
14-140      Carolina, LLC                                Services Group, Inc.                    2/17/2022
                                                         Subsidiary, Affiliate, or Predecessor
                                                         of Aramark Food and Support
14-141      Harry M. Stevens, Inc. of New Jersey         Services Group, Inc.                    2/17/2022
                                                         Subsidiary, Affiliate, or Predecessor
                                                         of Aramark Food and Support
14-142      Harry M. Stevens, Inc. of Penn.              Services Group, Inc.                    2/17/2022
                                                         Subsidiary, Affiliate, or Predecessor
                                                         of Aramark Food and Support
14-143      Harry M. Stevens, LLC                        Services Group, Inc.                    2/17/2022
                                                         Subsidiary, Affiliate, or Predecessor
                                                         of Aramark Food and Support
14-144      HPSI Purchasing Services LLC                 Services Group, Inc.                    2/17/2022
                                                         Subsidiary, Affiliate, or Predecessor
                                                         of Aramark Food and Support
14-145      Institutional Processing Services LLC        Services Group, Inc.                    2/17/2022
                                                         Subsidiary, Affiliate, or Predecessor
                                                         of Aramark Food and Support
14-146      L&N Uniform Supply, LLC                      Services Group, Inc.                    2/17/2022
                                                         Subsidiary, Affiliate, or Predecessor
                                                         of Aramark Food and Support
14-147      Lake Tahoe Cruises, LLC                      Services Group, Inc.                    2/17/2022
                                                         Subsidiary, Affiliate, or Predecessor
                                                         of Aramark Food and Support
14-148      Landy Textile Rental Services, LLC           Services Group, Inc.                    2/17/2022
                                                         Subsidiary, Affiliate, or Predecessor
                                                         of Aramark Food and Support
14-149      Liberty Islands Hospitality, LLC             Services Group, Inc.                    2/17/2022



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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
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Exclusion                                                                                         Postmark
                        Company Name                                     Details
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                                                          Subsidiary, Affiliate, or Predecessor
                                                          of Aramark Food and Support
14-150      Lifeworks Restaurant Group, LLC               Services Group, Inc.                    2/17/2022
                                                          Subsidiary, Affiliate, or Predecessor
                                                          of Aramark Food and Support
14-151      Muir Woods Hospitality, LLC                   Services Group, Inc.                    2/17/2022
                                                          Subsidiary, Affiliate, or Predecessor
                                                          of Aramark Food and Support
14-152      My Assistant, Inc.                            Services Group, Inc.                    2/17/2022
                                                          Subsidiary, Affiliate, or Predecessor
                                                          of Aramark Food and Support
14-153      National Mall Hospitality, LLC                Services Group, Inc.                    2/17/2022
                                                          Subsidiary, Affiliate, or Predecessor
                                                          of Aramark Food and Support
14-154      North Rim Hospitality, LLC                    Services Group, Inc.                    2/17/2022
                                                          Subsidiary, Affiliate, or Predecessor
                                                          of Aramark Food and Support
14-155      Old Time Coffee Co.                           Services Group, Inc.                    2/17/2022
                                                          Subsidiary, Affiliate, or Predecessor
                                                          of Aramark Food and Support
14-156      Olympic Peninsula Hospitality, LLC            Services Group, Inc.                    2/17/2022
                                                          Subsidiary, Affiliate, or Predecessor
                                                          of Aramark Food and Support
14-157      Overall Laundry Services, LLC                 Services Group, Inc.                    2/17/2022
                                                          Subsidiary, Affiliate, or Predecessor
                                                          of Aramark Food and Support
14-158      Paradise Hornblower, LLC                      Services Group, Inc.                    2/17/2022
                                                          Subsidiary, Affiliate, or Predecessor
            Philadelphia Ballpark Concession Joint        of Aramark Food and Support
14-159      Venture                                       Services Group, Inc.                    2/17/2022
                                                          Subsidiary, Affiliate, or Predecessor
                                                          of Aramark Food and Support
14-160      Restaura, Inc.                                Services Group, Inc.                    2/17/2022
                                                          Subsidiary, Affiliate, or Predecessor
                                                          of Aramark Food and Support
14-161      Rushmore Hospitality, LLC                     Services Group, Inc.                    2/17/2022
                                                          Subsidiary, Affiliate, or Predecessor
                                                          of Aramark Food and Support
14-162      South Rim Hospitality, LLC                    Services Group, Inc.                    2/17/2022



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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
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Exclusion                                                                                        Postmark
                         Company Name                                   Details
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                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Aramark Food and Support
14-163       Sun Office Service, Inc.                   Services Group, Inc.                     2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Aramark Food and Support
14-164       Tarrant County Concessions, LLC            Services Group, Inc.                     2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Aramark Food and Support
14-165       The Aramark Foundation                     Services Group, Inc.                     2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Aramark Food and Support
14-166       Travel Systems, LLC                        Services Group, Inc.                     2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Aramark Food and Support
14-167       Wilderness River Adventures, LLC           Services Group, Inc.                     2/17/2022
                                                        Subsidiary, Affiliate, or Predecessor
                                                        of Aramark Food and Support
14-168       Yosemite Hospitality, LLC                  Services Group, Inc.                     2/17/2022
                                                        Includes Subsidiaries, Affiliates, and
15           PJFS                                       Predecessors                             2/23/2022
                                                        Subsidiary, Affiliate, or Predecessor
15-1         Papa John's International, Inc.            of PJ Food Service, Inc.                 2/23/2022
                                                        Subsidiary, Affiliate, or Predecessor
15-2         Papa John's USA, Inc.                      of PJ Food Service, Inc.                 2/23/2022
                                                        Subsidiary, Affiliate, or Predecessor
15-3         Trans Papa Logistics, Inc.                 of PJ Food Service, Inc.                 2/23/2022
                                                        Subsidiary, Affiliate, or Predecessor
15-4         Preferred Marketing Solutions, Inc.        of PJ Food Service, Inc.                 2/23/2022
                                                        Subsidiary, Affiliate, or Predecessor
15-5         Risk Services Corp.                        of PJ Food Service, Inc.                 2/23/2022
                                                        Subsidiary, Affiliate, or Predecessor
15-6         Capital Delivery, Ltd.                     of PJ Food Service, Inc.                 2/23/2022
                                                        Subsidiary, Affiliate, or Predecessor
15-7         DEPZZA, Inc.                               of PJ Food Service, Inc.                 2/23/2022
                                                        Subsidiary, Affiliate, or Predecessor
15-8         Colonel's Limited, LLC                     of PJ Food Service, Inc.                 2/23/2022
                                                        Subsidiary, Affiliate, or Predecessor
15-9         P J Holdings, LLC                          of PJ Food Service, Inc.                 2/23/2022
                                                        Subsidiary, Affiliate, or Predecessor
15-10        Star Papa, LP                              of PJ Food Service, Inc.                 2/23/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
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Exclusion                                                                                       Postmark
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                                                       Subsidiary, Affiliate, or Predecessor
15-11        Papa John's Pizza, Ltd.                   of PJ Food Service, Inc.                 2/23/2022
                                                       Subsidiary, Affiliate, or Predecessor
15-12        PJ Minnesota, LLC                         of PJ Food Service, Inc.                 2/23/2022
                                                       Subsidiary, Affiliate, or Predecessor
15-13        P J Denver, LLC                           of PJ Food Service, Inc.                 2/23/2022
                                                       Subsidiary, Affiliate, or Predecessor
15-14        PJ North Georgia, LLC                     of PJ Food Service, Inc.                 2/23/2022
16           Quality Supply Chain Co-op, Inc                                                    2/24/2022
                                                       Includes Subsidiaries, Affiliates, and
17           GFS                                       Predecessors                             2/25/2022
                                                       Subsidiary, Affiliate, or Predecessor
17-1         GFS Marketplace North America, LLC        of Gordon Food Service, Inc.             2/25/2022
                                                       Subsidiary, Affiliate, or Predecessor
17-2         GFS Brands, Inc.                          of Gordon Food Service, Inc.             2/25/2022
                                                       Subsidiary, Affiliate, or Predecessor
17-3         Gordon Food Service Store LLC             of Gordon Food Service, Inc.             2/25/2022
                                                       Subsidiary, Affiliate, or Predecessor
17-4         Gordon Restaurant Market LLC              of Gordon Food Service, Inc.             2/25/2022
                                                       Subsidiary, Affiliate, or Predecessor
17-5         Gordon Marketplace Sub, LLC               of Gordon Food Service, Inc.             2/25/2022
                                                       Subsidiary, Affiliate, or Predecessor
17-6         Gordon Food Service, Inc.                 of Gordon Food Service, Inc.             2/25/2022
                                                       Subsidiary, Affiliate, or Predecessor
17-7         Glazier Foods Company                     of Gordon Food Service, Inc.             2/25/2022
                                                       Subsidiary, Affiliate, or Predecessor
17-8         GFS Transport, LLC                        of Gordon Food Service, Inc.             2/25/2022
                                                       Subsidiary, Affiliate, or Predecessor
17-9         GFS Transport East, LLC                   of Gordon Food Service, Inc.             2/25/2022
                                                       Subsidiary, Affiliate, or Predecessor
17-10        Perkins Paper, LLC                        of Gordon Food Service, Inc.             2/25/2022
                                                       Subsidiary, Affiliate, or Predecessor
17-11        Ettline Foods Corporation                 of Gordon Food Service, Inc.             2/25/2022
                                                       Subsidiary, Affiliate, or Predecessor
17-12        Ettline Express, LLC                      of Gordon Food Service, Inc.             2/25/2022
                                                       Subsidiary, Affiliate, or Predecessor
17-13        State Street 525, LLC                     of Gordon Food Service, Inc.             2/25/2022
                                                       Subsidiary, Affiliate, or Predecessor
17-14        Centurion Business Group, LLC             of Gordon Food Service, Inc.             2/25/2022



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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                        Postmark
                        Company Name                                    Details
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                                                         Subsidiary, Affiliate, or Predecessor
17-15        North Trading & Logistics, LLC              of Gordon Food Service, Inc.            2/25/2022
                                                         Subsidiary, Affiliate, or Predecessor
17-16        Capstone Logistic Services, LLC             of Gordon Food Service, Inc.            2/25/2022
                                                         Subsidiary, Affiliate, or Predecessor
17-17        Limson Trading, Inc.                        of Gordon Food Service, Inc.            2/25/2022
             Halperns' Steak and Seafood Company         Subsidiary, Affiliate, or Predecessor
17-18        LLC                                         of Gordon Food Service, Inc.            2/25/2022
             Halpems' Steak and Seafood of Puerto        Subsidiary, Affiliate, or Predecessor
17-19        Rico LLC                                    of Gordon Food Service, Inc.            2/25/2022
                                                         Subsidiary, Affiliate, or Predecessor
17-20        Gordon Food Service Company                 of Gordon Food Service, Inc.            2/25/2022
                                                         Subsidiary, Affiliate, or Predecessor
17-21        Gordon Food Service Company, Inc.           of Gordon Food Service, Inc.            2/25/2022
                                                         Subsidiary, Affiliate, or Predecessor
17-22        Gordon Food Service, LLC                    of Gordon Food Service, Inc.            2/25/2022
                                                         Subsidiary, Affiliate, or Predecessor
17-23        Gordon Food Service Store                   of Gordon Food Service, Inc.            2/25/2022
                                                         Subsidiary, Affiliate, or Predecessor
17-24        Gordon Foodservice                          of Gordon Food Service, Inc.            2/25/2022
                                                         Subsidiary, Affiliate, or Predecessor
17-25        Gordon Food Service                         of Gordon Food Service, Inc.            2/25/2022
                                                         Subsidiary, Affiliate, or Predecessor
17-26        Davis Creek Meat & Seafood                  of Gordon Food Service, Inc.            2/25/2022
                                                         Subsidiary, Affiliate, or Predecessor
17-27        Halpems'                                    of Gordon Food Service, Inc.            2/25/2022
             Halpems' Steak & Seafood 29. GFS            Subsidiary, Affiliate, or Predecessor
17-28        Central States LLC                          of Gordon Food Service, Inc.            2/25/2022
                                                         Subsidiary, Affiliate, or Predecessor
17-29        GFS Central States LLC                      of Gordon Food Service, Inc.            2/25/2022
             Checkers Drive-In Restaurants, Inc
18           ("Checkers")                                                                        2/23/2022
19           CKE Restaurant Holdings, Inc. ("CKE")                                               2/23/2022
             Cajun Operating Company d/b/a
20           Church's Chicken ("Church's")                                                       2/23/2022
21           Buffalo Wild Wings, Inc ("BBW")                                                     2/23/2022
22           Sonic                                       Collective                              2/23/2022
22-1         Sonic Industries Services Inc               Collectively Sonic                      2/23/2022
22-2         Sonic Holding Company                       Collectively Sonic                      2/23/2022


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23           Focus Brands LLC ("Focus")                                                      2/23/2022
             The Cheesecake Factory Incorporated
24           ("TCF")                                                                         2/23/2022
25           WAB                                        Collective                           2/23/2022
25-1         Whatabrands LLC                            Collectively WAB                     2/23/2022
25-2         Whataburger Restaurants LLC                Collectively WAB                     2/23/2022
25-3         WB Supply & Merchandising                  Collectively WAB                     2/23/2022
26           Bob Evans Farms, Inc ("BEF")                                                    2/23/2022
27           The Fresh Market, Inc ("TFM")                                                   2/23/2022
28           Wawa Inc ("Wawa")                                                               2/23/2022
29           Restaurant Services, Inc ("RSI")                                                2/23/2022
30           Hooters of America, LLC ("HOA")                                                 2/23/2022
31           Gibson, Greco & Wood, Ltd ("GGW")          Various Assignors                    2/23/2022
                                                        Claims Assigned to Gibson, Greco &
31-1         Blue Sky Management Company, LLC           Wood, Ltd                            2/23/2022
                                                        Claims Assigned to Gibson, Greco &
31-2         Wings-Up of Siegen, LLC                    Wood, Ltd                            2/23/2022
                                                        Claims Assigned to Gibson, Greco &
31-3         Wings-Up of West Monroe, LLC               Wood, Ltd                            2/23/2022
                                                        Claims Assigned to Gibson, Greco &
31-4         Wings-Up of Baton Rouge, LLC               Wood, Ltd                            2/23/2022
                                                        Claims Assigned to Gibson, Greco &
31-5         Wings-Up on the Westbank, LLC              Wood, Ltd                            2/23/2022
                                                        Claims Assigned to Gibson, Greco &
31-6         Wings-Up of Lafayette, LLC                 Wood, Ltd                            2/23/2022
                                                        Claims Assigned to Gibson, Greco &
31-7         Wings-Up of Denham, LLC                    Wood, Ltd                            2/23/2022
                                                        Claims Assigned to Gibson, Greco &
31-8         Wings-Up of Slidell, LLC                   Wood, Ltd                            2/23/2022
                                                        Claims Assigned to Gibson, Greco &
31-9         Wings-Up of Boardwalk, LLC                 Wood, Ltd                            2/23/2022
                                                        Claims Assigned to Gibson, Greco &
31-10        Wings-Up of Houma, LLC                     Wood, Ltd                            2/23/2022
32           Hoot Winc                                  Collective                           2/23/2022
32-1         Hoot Winc, LLC                             Collectively Hoot Winc               2/23/2022
             Anaheim Wings, LLC d/b/a Hooters of
32-2         Anaheim                                    Collectively Hoot Winc               2/23/2022


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             Bonita Plaza Wings, LLC d/b/a Hooters
32-3         of Plaza Bonita                                Collectively Hoot Winc          2/23/2022
             Costa Mesa Wings, LLC d/b/a Hooters
32-4         of Costa Mesa                                  Collectively Hoot Winc          2/23/2022
             Downtown Wings, LLC previously
32-5         d/b/a Hooters of Downtown LA                   Collectively Hoot Winc          2/23/2022
             Gaslamp Wings, LLC previously d/b/a
32-6         Hooters of San Diego                           Collectively Hoot Winc          2/23/2022
             Hollywood Wings, LLC d/b/a Hooters
32-7         of Hollywood                                   Collectively Hoot Winc          2/23/2022
             Mission Valley Wings, LLC d/b/a
32-8         Hooters of Mission Valley                      Collectively Hoot Winc          2/23/2022
             Oceanside Wings, LLC previously d/b/a
32-9         Hooters of Oceanside                           Collectively Hoot Winc          2/23/2022
             Ontario Wings, LLC d/b/a Hooters of
32-10        Ontario                                        Collectively Hoot Winc          2/23/2022
             Rancho Bernardo Wings, LLC d/b/a
32-11        Hooters of San Marcos                          Collectively Hoot Winc          2/23/2022
             South Gate Wings, LLC d/b/a Hooters
32-12        of South Gate                                  Collectively Hoot Winc          2/23/2022
             Wings Over Long Beach, LLC d/b/a
32-13        Hooters of Long Beach                          Collectively Hoot Winc          2/23/2022
33           LTP Management Group, Inc                      Various Assignors               2/23/2022
             Lags Enterprises, Inc. d/b/a Hooters of        Claims Assigned to LTP
33-1         Ft Myers                                       Management Group, Inc ("LTP")   2/23/2022
             Country Bumpkins, Inc. d/b/a Hooters           Claims Assigned to LTP
33-2         of Sunrise                                     Management Group, Inc ("LTP")   2/23/2022
                                                            Claims Assigned to LTP
33-3         Hooters of Sarasota, Inc.                      Management Group, Inc ("LTP")   2/23/2022
                                                            Claims Assigned to LTP
33-4         Hooters of Bayside, Inc.                       Management Group, Inc ("LTP")   2/23/2022
                                                            Claims Assigned to LTP
33-5         Hooters of Pembroke Pines, Inc.                Management Group, Inc ("LTP")   2/23/2022
             Waterfront Concepts, Inc. d/b/a Hooters        Claims Assigned to LTP
33-6         of Ft Myers Beach                              Management Group, Inc ("LTP")   2/23/2022
                                                            Claims Assigned to LTP
33-7         Hooters of Doral, Inc.                         Management Group, Inc ("LTP")   2/23/2022
                                                            Claims Assigned to LTP
33-8         Hooters of Cape Coral, Inc.                    Management Group, Inc ("LTP")   2/23/2022



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                                                            Claims Assigned to LTP
33-9         Hooters of BeachPlace, Inc.                    Management Group, Inc ("LTP")       2/23/2022
                                                            Claims Assigned to LTP
33-10        Hooters of Cypress Creek, Inc.                 Management Group, Inc ("LTP")       2/23/2022
                                                            Claims Assigned to LTP
33-11        Hooters of Port Charlotte, Inc.                Management Group, Inc ("LTP")       2/23/2022
                                                            Claims Assigned to LTP
33-12        Hooters of Bradenton, Inc.                     Management Group, Inc ("LTP")       2/23/2022
                                                            Claims Assigned to LTP
33-13        Hooters ofNaples, Inc.                         Management Group, Inc ("LTP")       2/23/2022
             Wings of Boca, Inc. d/b/a Hooters of           Claims Assigned to LTP
33-14        Boca                                           Management Group, Inc ("LTP")       2/23/2022
             Hooters of Miami, Inc. d/b/a Hooters of        Claims Assigned to LTP
33-15        Coral Gables                                   Management Group, Inc ("LTP")       2/23/2022
             Wings of Hialeah, Inc. d/b/a Hooters of        Claims Assigned to LTP
33-16        Hialeah                                        Management Group, Inc ("LTP")       2/23/2022
                                                            Claims Assigned to LTP
33-17        Hooters of Hollywood, Inc.                     Management Group, Inc ("LTP")       2/23/2022
             Lag's Drinks of Orlando, Inc.                  Claims Assigned to LTP
33-18        d/b/aAdobe Gila's of Orlando                   Management Group, Inc ("LTP")       2/23/2022
             Lulu's Bait Shack of Fort Lauderdale,          Claims Assigned to LTP
33-19        Inc. d/b/a Lulus of Fort Lauderdale            Management Group, Inc ("LTP")       2/23/2022
             Pigs Galore, LLC d/b/a The Royal Pig           Claims Assigned to LTP
33-20        Pub and Kitchen                                Management Group, Inc ("LTP")       2/23/2022
34           Restaurants of America, Inc ("ROA")            Various Assignors                   2/23/2022
                                                            Claims Assigned to Restaurants of
34-1         Restaurants of America, Inc ("ROA")            America, Inc ("ROA")                2/23/2022
                                                            Claims Assigned to Restaurants of
34-2         Albuquerque Hooters, Inc.                      America, Inc ("ROA")                2/23/2022
                                                            Claims Assigned to Restaurants of
34-3         Albuquerque West Hooters, LLC                  America, Inc ("ROA")                2/23/2022
                                                            Claims Assigned to Restaurants of
34-4         Bloomington Hooters, Inc.                      America, Inc ("ROA")                2/23/2022
                                                            Claims Assigned to Restaurants of
34-5         Colorado Springs Hooters, Inc.                 America, Inc ("ROA")                2/23/2022
                                                            Claims Assigned to Restaurants of
34-6         Fiesta Mall Hooters, Inc.                      America, Inc ("ROA")                2/23/2022
                                                            Claims Assigned to Restaurants of
34-7         Las Cruces Hooters, Ltd.                       America, Inc ("ROA")                2/23/2022


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                                                         Claims Assigned to Restaurants of
34-8         Lone Tree Hooters, Inc.                     America, Inc ("ROA")                2/23/2022
                                                         Claims Assigned to Restaurants of
34-9         Metro Center Hooters, Inc.                  America, Inc ("ROA")                2/23/2022
                                                         Claims Assigned to Restaurants of
34-10        Parker Road Hooters, Inc.                   America, Inc ("ROA")                2/23/2022
                                                         Claims Assigned to Restaurants of
34-11        Hooters of Peoria, LP                       America, Inc ("ROA")                2/23/2022
                                                         Claims Assigned to Restaurants of
34-12        Peoria Hooters, Inc.                        America, Inc ("ROA")                2/23/2022
                                                         Claims Assigned to Restaurants of
34-13        Phoenix Hooters, Inc.                       America, Inc ("ROA")                2/23/2022
                                                         Claims Assigned to Restaurants of
34-14        Scottsdale Hooters, Inc.                    America, Inc ("ROA")                2/23/2022
                                                         Claims Assigned to Restaurants of
34-15        8909 Indian Bend Hooters, LP                America, Inc ("ROA")                2/23/2022
                                                         Claims Assigned to Restaurants of
34-16        Thunder Mountain Hooters, LLC               America, Inc ("ROA")                2/23/2022
                                                         Claims Assigned to Restaurants of
34-17        Yuma Hooters, Inc.                          America, Inc ("ROA")                2/23/2022
                                                         Claims Assigned to Restaurants of
34-18        West Phoenix Hooters, Inc.                  America, Inc ("ROA")                2/23/2022
                                                         Claims Assigned to Restaurants of
34-19        Hooters of Westminster, LP                  America, Inc ("ROA")                2/23/2022
                                                         Claims Assigned to Restaurants of
34-20        Westminster Hooters, Inc.                   America, Inc ("ROA")                2/23/2022
                                                         Claims Assigned to Restaurants of
34-21        Bell Canyon Hooters, Inc.                   America, Inc ("ROA")                2/23/2022
                                                         Claims Assigned to Restaurants of
34-22        Colorado Blvd. Hooters, Inc.                America, Inc ("ROA")                2/23/2022
                                                         Claims Assigned to Restaurants of
34-23        Colorado Springs North Hooters, Inc.        America, Inc ("ROA")                2/23/2022
                                                         Claims Assigned to Restaurants of
34-24        Chandler Hooters, Inc.                      America, Inc ("ROA")                2/23/2022
                                                         Claims Assigned to Restaurants of
34-25        Southwest Hooters, Ltd.                     America, Inc ("ROA")                2/23/2022
                                                         Claims Assigned to Restaurants of
34-26        Grand Junction Hooters, LP                  America, Inc ("ROA")                2/23/2022
                                                         Claims Assigned to Restaurants of
34-27        Kipling Hooters, Ltd.                       America, Inc ("ROA")                2/23/2022


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                                                       Claims Assigned to Restaurants of
34-28        Mesa Hooters Inc.                         America, Inc ("ROA")                2/23/2022
                                                       Claims Assigned to Restaurants of
34-29        Tucson Northwest Hooters Ltd.             America, Inc ("ROA")                2/23/2022
                                                       Claims Assigned to Restaurants of
34-30        Marana Hooters, Inc.                      America, Inc ("ROA")                2/23/2022
                                                       Claims Assigned to Restaurants of
34-31        Tucson Hooters, Inc.                      America, Inc ("ROA")                2/23/2022
                                                       Claims Assigned to Restaurants of
34-32        Tempe Hooters, Inc.                       America, Inc ("ROA")                2/23/2022
             Hooters Management Corporation
35           ("HMC")                                   Various Assignors                   2/23/2022
                                                       Claims Assigned to Hooters
35-1         Hooters of Clearwater, Inc                Management Corporation ("HMC")      2/23/2022
                                                       Claims Assigned to Hooters
35-2         Hooters II, Inc.                          Management Corporation ("HMC")      2/23/2022
                                                       Claims Assigned to Hooters
35-3         Hooters III, Inc.                         Management Corporation ("HMC")      2/23/2022
                                                       Claims Assigned to Hooters
35-4         Hooters of Port Richey, Inc.              Management Corporation ("HMC")      2/23/2022
                                                       Claims Assigned to Hooters
35-5         Hooters of Brandon, Inc.                  Management Corporation ("HMC")      2/23/2022
                                                       Claims Assigned to Hooters
35-6         Hooters of North Tampa, Inc.              Management Corporation ("HMC")      2/23/2022
                                                       Claims Assigned to Hooters
35-7         Hooters of Spring Hill, Inc.              Management Corporation ("HMC")      2/23/2022
                                                       Claims Assigned to Hooters
35-8         Hooters of South Tampa, Inc.              Management Corporation ("HMC")      2/23/2022
             Hooters on 4th Street, Inc. (f/k/a        Claims Assigned to Hooters
35-9         Hooters of Roosevelt, Inc.)               Management Corporation ("HMC")      2/23/2022
                                                       Claims Assigned to Hooters
35-10        Hooters of Channelside, Inc.              Management Corporation ("HMC")      2/23/2022
                                                       Claims Assigned to Hooters
35-11        Hooters of John's Pass, Inc.              Management Corporation ("HMC")      2/23/2022
                                                       Claims Assigned to Hooters
35-12        Hooters of Clearwater Breach, Inc.        Management Corporation ("HMC")      2/23/2022
                                                       Claims Assigned to Hooters
35-13        Hooters of Wells Street, Inc.             Management Corporation ("HMC")      2/23/2022
                                                       Claims Assigned to Hooters
35-14        Hooters of Downers Grove, Inc.            Management Corporation ("HMC")      2/23/2022


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                                                      Claims Assigned to Hooters
35-15       Hooters of Orlando Park, Inc.             Management Corporation ("HMC")       2/23/2022
                                                      Claims Assigned to Hooters
35-16       Hooters on Golf, Inc.                     Management Corporation ("HMC")       2/23/2022
                                                      Claims Assigned to Hooters
35-17       Hooters on Golf Holding Co.               Management Corporation ("HMC")       2/23/2022
                                                      Claims Assigned to Hooters
35-18       Hooters of Oak Lawn, Inc.                 Management Corporation ("HMC")       2/23/2022
                                                      Claims Assigned to Hooters
35-19       Hooters of Lansing, Inc.                  Management Corporation ("HMC")       2/23/2022
                                                      Claims Assigned to Hooters
35-20       Hooters on Higgins, Inc.                  Management Corporation ("HMC")       2/23/2022
                                                      Claims Assigned to Hooters
35-21       Hooters of Aurora, Inc.                   Management Corporation ("HMC")       2/23/2022
                                                      Claims Assigned to Hooters
35-22       Hooters of Joliet, Inc.                   Management Corporation ("HMC")       2/23/2022
                                                      Claims Assigned to Hooters
35-23       Hooters of Melrose Park, Inc.             Management Corporation ("HMC")       2/23/2022
                                                      Claims Assigned to Hooters
35-24       Hooters of Countryside, Inc.              Management Corporation ("HMC")       2/23/2022
                                                      Claims Assigned to Hooters
35-25       Hooters of Gurnee, Inc.                   Management Corporation ("HMC")       2/23/2022
                                                      Claims Assigned to Hooters
35-26       Hoots of Cicero, Inc.                     Management Corporation ("HMC")       2/23/2022
                                                      Claims Assigned to Hooters
35-27       Hooters of 33rd Street, Inc.              Management Corporation ("HMC")       2/23/2022
                                                      Claims Assigned to Hooters
35-28       Hooters of Manhattan, Ltd.                Management Corporation ("HMC")       2/23/2022
                                                      Claims Assigned to Hooters
35-29       Hooters of Manhattan Inc.                 Management Corporation ("HMC")       2/23/2022
                                                      Claims Assigned to Hooters
35-30       Tyrone Hooters, Ltd.                      Management Corporation ("HMC")       2/23/2022
                                                      Claims Assigned to Hooters
35-31       Hooters of Vernon Hills, Inc.             Management Corporation ("HMC")       2/23/2022
                                                      Claims Assigned to Hooters
35-32       Hooters of Crystal Lake, Inc.             Management Corporation ("HMC")       2/23/2022
                                                      Claims Assigned to Hooters
35-33       Hooters of Palm Harbor, Inc.              Management Corporation ("HMC")       2/23/2022
                                                      Claims Assigned to Hooters
35-34       Hooters Management Holding Co.            Management Corporation ("HMC")       2/23/2022


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                                                           Claims Assigned to Hooters
35-35        Hooters Foods, Inc.                           Management Corporation ("HMC")   2/23/2022
36           V&M Food Enterprises, LLC                                                      2/26/2022
37           V&M Food Enterprises, LLC                                                      2/26/2022
38           MarcVanRestaurants, Inc.                                                       2/26/2022
39           Perkins, LLC                                  Designee                          3/1/2022
             Perkins & Marie Calendar's Holding,
39-1         LLC ("Company")                               Designator                        3/1/2022
39-2         Perkins & Marie Calendar's, LLC               Designator                        3/1/2022
39-3         Marie Calendar Pie Shops, LLC                 Designator                        3/1/2022
39-4         MC Wholesalers, LLC                           Designator                        3/1/2022
39-5         PMCI Promotions, LLC                          Designator                        3/1/2022
39-6         MCID, Inc.                                    Designator                        3/1/2022
39-7         Wilshire Beverage, Inc.                       Designator                        3/1/2022
39-8         FIV,LLC                                       Designator                        3/1/2022
39-9         P&MC's Holdings Corp                          Designator                        3/1/2022
40           Huddle House, Inc.                                                              3/1/2022
41           Caesers                                       Collective and Subsidaries        3/1/2022
41-1         Caesars Entertainment, Inc                    Collectively Caesars              3/1/2022
41-2         Caesars Enterprise Services, LLC              Collectively Caesars              3/1/2022
             Parball Newco, LLC d/b/a Bally's Las
41-3         Vegas                                         Collectively Caesars              3/1/2022
             Boardwalk Regency LLC d/b/a Caesars
41-4         Atlantic City                                 Collectively Caesars              3/1/2022
41-5         Desert Palace LLC d/b/a Caesars Palace        Collectively Caesars              3/1/2022
             Flamingo Las Vegas Operating
             Company, LLC d/b/a Flamingo Las
41-6         Vegas                                         Collectively Caesars              3/1/2022
41-7         Harrah's                                      Collectively Caesars              3/1/2022
             Harrah's Arizona Corporation d/b/a
41-8         Harrah's Ak-Chin Hotel & Casino               Collectively Caesars              3/1/2022
             H.arrah's Atlantic City Operating
             Company, LLC d/b/a Harrah's Resort
41-9         Atlantic City                                 Collectively Caesars              3/1/2022



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            Harrah's NC Casino Company, LLC
41-10       d/b/a Harrah's Cherokee                       Collectively Caesars              3/1/2022
            Harveys Iowa Management Company,
            LLC d/b/a Harrah's Council Bluffs
41-11       Casino and Hotel                              Collectively Caesars              3/1/2022
            Grand Casinos of Biloxi, LLC d/b/a
41-12       Harrah's Gulf Coast                           Collectively Caesars              3/1/2022
            Harrah's Illinois LLC d/b/a Harrah's
41-13       Joliet Casino Hotel                           Collectively Caesars              3/1/2022
            Harrah's Las Vegas, LLC d/b/a Harrah's
41-14       Casino Hotel, Las Vegas                       Collectively Caesars              3/1/2022
            Harrah's Laughlin, LLC d/b/a Harrah's
41-15       Laughlin                                      Collectively Caesars              3/1/2022
            Harrah's Bossier City Investment
            Company, LLC d/b/a Harrah's
41-16       Louisiana Downs                               Collectively Caesars              3/1/2022
            Southern Illinois Riverboat/Casino
            Cruises LLC d/b/a Harrah's Metropolis
41-17       Casino                                        Collectively Caesars              3/1/2022
            Jazz Casino Company, L.L.C. d/b/a
41-18       Harrah's New Orleans Casino                   Collectively Caesars              3/1/2022
            Harrah's North Kansas City LLC d/b/a
41-19       Harrah's Kansas City                          Collectively Caesars              3/1/2022
            Chester Downs and Marina, LLC d/b/a
            Harrah's Philadelphia Casino &
41-20       Racetrack                                     Collectively Caesars              3/1/2022
            HCAL, LLC d/b/a Harrah's Resort
41-21       Southern California                           Collectively Caesars              3/1/2022
            Harveys Tahoe Management Company,
41-22       LLC d/b/a Harveys Resort Hotel Casino         Collectively Caesars              3/1/2022
            Hoosier Park, LLC d/b/a Harrah's
41-23       Hoosier Park Racing & Casino                  Collectively Caesars              3/1/2022
            Caesars Baltimore Management
            Company, LLC d/b/a Horseshoe
41-24       Baltimore                                     Collectively Caesars              3/1/2022
            Horseshoe Entertainment d/b/a
41-25       Horseshoe Bossier City                        Collectively Caesars              3/1/2022




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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                        Postmark
                         Company Name                                  Details
    #                                                                                              Date

             Harveys BR Management Company,
41-26        Inc. d/b/a Horseshoe Council Bluffs        Collectively Caesars                      3/1/2022
             Horseshoe Hammond, LLC d/b/a
41-27        Horseshoe Casino Hammond                   Collectively Caesars                      3/1/2022
             Caesars Riverboat Casino, LLC d/b/a
41-28        Horseshoe Southern Indiana                 Collectively Caesars                      3/1/2022
             Robinson Property Group LLC d/b/a
41-29        Horseshoe Tunica                           Collectively Caesars                      3/1/2022
             Centaur Acquisition, LLC d/b/a Indiana
41-30        Grand Racing & Casino                      Collectively Caesars                      3/1/2022
             Paris Las Vegas Operating Company,
41-31        LLC d/b/a Paris Las Vegas                  Collectively Caesars                      3/1/2022
             PHWL V, LLC d/b/a Planet Hollywood
41-32        Resort and Casino                          Collectively Caesars                      3/1/2022
             Rio Properties, LLC d/b/a Rio All Suite
41-33        Hotel and Casino                           Collectively Caesars                      3/1/2022
             Corner Investment Company, LLC d/b/a
41-34        The Cromwell                               Collectively Caesars                      3/1/2022
             3535 LV Newco, LLC d/b/a The LINQ
41-35        Hotel & Casino                             Collectively Caesars                      3/1/2022
                                                        Includes Subsidiaries, Affiliates,
                                                        Assignors, Parents, Predecessors,
                                                        Successors, Agents, Partners,
             US Foods, Inc a/k/a US Foodservice,        Acquisitions, Divisions, Departments,
42           Inc ("US Foods")                           Facilities, and Offices                   3/2/2022
                                                        Subsidiary, Affiliate, Assignor,
                                                        Parent, Predecessor, Successor,
                                                        Agent, Partner, Acquisition, Division,
                                                        Department, Facility, or Office of US
42-1         All American Foods, Inc.                   Foods                                     3/2/2022
                                                        Subsidiary, Affiliate, Assignor,
                                                        Parent, Predecessor, Successor,
                                                        Agent, Partner, Acquisition, Division,
                                                        Department, Facility, or Office of US
42-2         US Foods, Inc.                             Foods                                     3/2/2022
                                                        Subsidiary, Affiliate, Assignor,
                                                        Parent, Predecessor, Successor,
42-3         Alliant Foodservice, Inc .                 Agent, Partner, Acquisition, Division,    3/2/2022



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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                           Postmark
                         Company Name                                     Details
    #                                                                                                 Date

                                                           Department, Facility, or Office of US
                                                           Foods
                                                           Subsidiary, Affiliate, Assignor,
                                                           Parent, Predecessor, Successor,
                                                           Agent, Partner, Acquisition, Division,
                                                           Department, Facility, or Office of US
42-4         AlliantLink.com, Inc.                         Foods                                     3/2/2022
                                                           Subsidiary, Affiliate, Assignor,
                                                           Parent, Predecessor, Successor,
                                                           Agent, Partner, Acquisition, Division,
                                                           Department, Facility, or Office of US
42-5         Atlanta L.K.E. LLC                            Foods                                     3/2/2022
                                                           Subsidiary, Affiliate, Assignor,
                                                           Parent, Predecessor, Successor,
                                                           Agent, Partner, Acquisition, Division,
                                                           Department, Facility, or Office of US
42-6         Atlanta Land L.K.E. LLC                       Foods                                     3/2/2022
                                                           Subsidiary, Affiliate, Assignor,
                                                           Parent, Predecessor, Successor,
                                                           Agent, Partner, Acquisition, Division,
                                                           Department, Facility, or Office of US
42-7         Atlantic Food Services Inc.                   Foods                                     3/2/2022
                                                           Subsidiary, Affiliate, Assignor,
                                                           Parent, Predecessor, Successor,
                                                           Agent, Partner, Acquisition, Division,
                                                           Department, Facility, or Office of US
42-8         Ba -N-Gulf. Inc.                              Foods                                     3/2/2022
                                                           Subsidiary, Affiliate, Assignor,
                                                           Parent, Predecessor, Successor,
                                                           Agent, Partner, Acquisition, Division,
                                                           Department, Facility, or Office of US
42-9         Bay-N-Gulf, Inc. d/b/a Save on Seafood        Foods                                     3/2/2022
                                                           Subsidiary, Affiliate, Assignor,
                                                           Parent, Predecessor, Successor,
                                                           Agent, Partner, Acquisition, Division,
                                                           Department, Facility, or Office of US
42-10        BNG Trans ort Inc                             Foods                                     3/2/2022
                                                           Subsidiary, Affiliate, Assignor,
                                                           Parent, Predecessor, Successor,
42-11        Braunger Foods, LLC                           Agent, Partner, Acquisition, Division,    3/2/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                       Postmark
                        Company Name                                  Details
    #                                                                                             Date

                                                       Department, Facility, or Office of US
                                                       Foods
                                                       Subsidiary, Affiliate, Assignor,
                                                       Parent, Predecessor, Successor,
                                                       Agent, Partner, Acquisition, Division,
                                                       Department, Facility, or Office of US
42-12       Cara Donna Provision Co., Inc.             Foods                                     3/2/2022
                                                       Subsidiary, Affiliate, Assignor,
                                                       Parent, Predecessor, Successor,
                                                       Agent, Partner, Acquisition, Division,
                                                       Department, Facility, or Office of US
42-13       Cerniglia Products Inc.                    Foods                                     3/2/2022
                                                       Subsidiary, Affiliate, Assignor,
                                                       Parent, Predecessor, Successor,
                                                       Agent, Partner, Acquisition, Division,
                                                       Department, Facility, or Office of US
42-14       City Meat & Provisions Company, Inc        Foods                                     3/2/2022
                                                       Subsidiary, Affiliate, Assignor,
                                                       Parent, Predecessor, Successor,
                                                       Agent, Partner, Acquisition, Division,
                                                       Department, Facility, or Office of US
42-15       Dierks Foods Inc.                          Foods                                     3/2/2022
                                                       Subsidiary, Affiliate, Assignor,
                                                       Parent, Predecessor, Successor,
                                                       Agent, Partner, Acquisition, Division,
                                                       Department, Facility, or Office of US
42-16       Dierks Waukesha Foods                      Foods                                     3/2/2022
                                                       Subsidiary, Affiliate, Assignor,
                                                       Parent, Predecessor, Successor,
                                                       Agent, Partner, Acquisition, Division,
                                                       Department, Facility, or Office of US
42-17       E&H Distributing, LLC                      Foods                                     3/2/2022
                                                       Subsidiary, Affiliate, Assignor,
                                                       Parent, Predecessor, Successor,
                                                       Agent, Partner, Acquisition, Division,
                                                       Department, Facility, or Office of US
42-18       First Course LLC                           Foods                                     3/2/2022
                                                       Subsidiary, Affiliate, Assignor,
                                                       Parent, Predecessor, Successor,
42-19       Firstclass Foods - Trojan, Inc.            Agent, Partner, Acquisition, Division,    3/2/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                        Postmark
                        Company Name                                   Details
    #                                                                                              Date

                                                        Department, Facility, or Office of US
                                                        Foods
                                                        Subsidiary, Affiliate, Assignor,
                                                        Parent, Predecessor, Successor,
                                                        Agent, Partner, Acquisition, Division,
                                                        Department, Facility, or Office of US
42-20       Firstclass Foods, Inc.                      Foods                                     3/2/2022
                                                        Subsidiary, Affiliate, Assignor,
                                                        Parent, Predecessor, Successor,
                                                        Agent, Partner, Acquisition, Division,
                                                        Department, Facility, or Office of US
42-21       Food Genius, Inc.                           Foods                                     3/2/2022
                                                        Subsidiary, Affiliate, Assignor,
                                                        Parent, Predecessor, Successor,
                                                        Agent, Partner, Acquisition, Division,
                                                        Department, Facility, or Office of US
42-22       Fresh Transportation Co. Ltd.               Foods                                     3/2/2022
                                                        Subsidiary, Affiliate, Assignor,
                                                        Parent, Predecessor, Successor,
                                                        Agent, Partner, Acquisition, Division,
            Fresh Unlimited, Inc. d/b/a Freshway        Department, Facility, or Office of US
42-23       Foods                                       Foods                                     3/2/2022
                                                        Subsidiary, Affiliate, Assignor,
                                                        Parent, Predecessor, Successor,
                                                        Agent, Partner, Acquisition, Division,
                                                        Department, Facility, or Office of US
42-24       Freshway Logistics, Inc.                    Foods                                     3/2/2022
                                                        Subsidiary, Affiliate, Assignor,
                                                        Parent, Predecessor, Successor,
                                                        Agent, Partner, Acquisition, Division,
                                                        Department, Facility, or Office of US
42-25       GFG Foodservice                             Foods                                     3/2/2022
                                                        Subsidiary, Affiliate, Assignor,
                                                        Parent, Predecessor, Successor,
                                                        Agent, Partner, Acquisition, Division,
                                                        Department, Facility, or Office of US
42-26       Great North Imports, LLC                    Foods                                     3/2/2022
                                                        Subsidiary, Affiliate, Assignor,
                                                        Parent, Predecessor, Successor,
42-27       Great W estem Meats, Inc.                   Agent, Partner, Acquisition, Division,    3/2/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                         Postmark
                        Company Name                                    Details
    #                                                                                               Date

                                                         Department, Facility, or Office of US
                                                         Foods
                                                         Subsidiary, Affiliate, Assignor,
                                                         Parent, Predecessor, Successor,
                                                         Agent, Partner, Acquisition, Division,
            Harrison'.s: Prime Meats & Provisions        Department, Facility, or Office of US
42-28       Inc                                          Foods                                     3/2/2022
                                                         Subsidiary, Affiliate, Assignor,
                                                         Parent, Predecessor, Successor,
                                                         Agent, Partner, Acquisition, Division,
                                                         Department, Facility, or Office of US
42-29       Hawkeye Foodservice Distnbution, Inc.        Foods                                     3/2/2022
                                                         Subsidiary, Affiliate, Assignor,
                                                         Parent, Predecessor, Successor,
                                                         Agent, Partner, Acquisition, Division,
                                                         Department, Facility, or Office of US
42-30       Jackson L.K.E., LLC                          Foods                                     3/2/2022
                                                         Subsidiary, Affiliate, Assignor,
                                                         Parent, Predecessor, Successor,
                                                         Agent, Partner, Acquisition, Division,
                                                         Department, Facility, or Office of US
42-31       JP Foodservice Distributors, Inc             Foods                                     3/2/2022
                                                         Subsidiary, Affiliate, Assignor,
                                                         Parent, Predecessor, Successor,
                                                         Agent, Partner, Acquisition, Division,
                                                         Department, Facility, or Office of US
42-32       Midway Produce Inc.                          Foods                                     3/2/2022
                                                         Subsidiary, Affiliate, Assignor,
                                                         Parent, Predecessor, Successor,
                                                         Agent, Partner, Acquisition, Division,
                                                         Department, Facility, or Office of US
42-33       New City Packing Company, Inc.               Foods                                     3/2/2022
                                                         Subsidiary, Affiliate, Assignor,
                                                         Parent, Predecessor, Successor,
                                                         Agent, Partner, Acquisition, Division,
                                                         Department, Facility, or Office of US
42-34       Next Da Gourmet L.P.                         Foods                                     3/2/2022
                                                         Subsidiary, Affiliate, Assignor,
                                                         Parent, Predecessor, Successor,
42-35       NextGen Markets Inc.                         Agent, Partner, Acquisition, Division,    3/2/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                           Postmark
                        Company Name                                      Details
    #                                                                                                 Date

                                                           Department, Facility, or Office of US
                                                           Foods
                                                           Subsidiary, Affiliate, Assignor,
                                                           Parent, Predecessor, Successor,
                                                           Agent, Partner, Acquisition, Division,
                                                           Department, Facility, or Office of US
42-36       North Star FoodServices. Inc.                  Foods                                     3/2/2022
                                                           Subsidiary, Affiliate, Assignor,
                                                           Parent, Predecessor, Successor,
                                                           Agent, Partner, Acquisition, Division,
                                                           Department, Facility, or Office of US
42-37       Outwest Meat Company                           Foods                                     3/2/2022
                                                           Subsidiary, Affiliate, Assignor,
                                                           Parent, Predecessor, Successor,
                                                           Agent, Partner, Acquisition, Division,
                                                           Department, Facility, or Office of US
42-38       Paris L.K.E. LLC                               Foods                                     3/2/2022
                                                           Subsidiary, Affiliate, Assignor,
                                                           Parent, Predecessor, Successor,
                                                           Agent, Partner, Acquisition, Division,
                                                           Department, Facility, or Office of US
42-39       Project Tide Inc.                              Foods                                     3/2/2022
                                                           Subsidiary, Affiliate, Assignor,
                                                           Parent, Predecessor, Successor,
                                                           Agent, Partner, Acquisition, Division,
                                                           Department, Facility, or Office of US
42-40       PY A/Monarch, LLC                              Foods                                     3/2/2022
                                                           Subsidiary, Affiliate, Assignor,
                                                           Parent, Predecessor, Successor,
                                                           Agent, Partner, Acquisition, Division,
                                                           Department, Facility, or Office of US
42-41       Quandt's Foodservice Distributors, Inc.        Foods                                     3/2/2022
                                                           Subsidiary, Affiliate, Assignor,
                                                           Parent, Predecessor, Successor,
                                                           Agent, Partner, Acquisition, Division,
            Riverside Food Distributors, LLC d/b/a         Department, Facility, or Office of US
42-42       F. Christina & Co                              Foods                                     3/2/2022
                                                           Subsidiary, Affiliate, Assignor,
                                                           Parent, Predecessor, Successor,
42-43       RS Funding Inc                                 Agent, Partner, Acquisition, Division,    3/2/2022


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                                    Actions, Exclusion Summary

Exclusion                                                                                      Postmark
                        Company Name                                 Details
    #                                                                                            Date

                                                      Department, Facility, or Office of US
                                                      Foods
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-44       Rykoff-Sexton, Inc.                       Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-45       Save On Seafood Company Inc.              Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-46       Save on Seafood Fishing, Inc              Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-47       Sorrento Food Service, Inc.               Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-48       Sparta Imports, Inc.                      Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-49       Sqp, Inc.                                 Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-50       Squeri Food Service Inc                   Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
42-51       SRA Foods, Inc.                           Agent, Partner, Acquisition, Division,    3/2/2022


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                                    Actions, Exclusion Summary

Exclusion                                                                                          Postmark
                        Company Name                                     Details
    #                                                                                                Date

                                                          Department, Facility, or Office of US
                                                          Foods
                                                          Subsidiary, Affiliate, Assignor,
                                                          Parent, Predecessor, Successor,
                                                          Agent, Partner, Acquisition, Division,
                                                          Department, Facility, or Office of US
42-52       Stock Yards                                   Foods                                     3/2/2022
                                                          Subsidiary, Affiliate, Assignor,
                                                          Parent, Predecessor, Successor,
                                                          Agent, Partner, Acquisition, Division,
                                                          Department, Facility, or Office of US
42-53       Superior Products Catalog Company             Foods                                     3/2/2022
                                                          Subsidiary, Affiliate, Assignor,
                                                          Parent, Predecessor, Successor,
                                                          Agent, Partner, Acquisition, Division,
                                                          Department, Facility, or Office of US
42-54       The Thompson Co., LLC                         Foods                                     3/2/2022
                                                          Subsidiary, Affiliate, Assignor,
                                                          Parent, Predecessor, Successor,
                                                          Agent, Partner, Acquisition, Division,
                                                          Department, Facility, or Office of US
42-55       Trans-Porte, Inc.                             Foods                                     3/2/2022
                                                          Subsidiary, Affiliate, Assignor,
                                                          Parent, Predecessor, Successor,
                                                          Agent, Partner, Acquisition, Division,
                                                          Department, Facility, or Office of US
42-56       US Foods                                      Foods                                     3/2/2022
                                                          Subsidiary, Affiliate, Assignor,
                                                          Parent, Predecessor, Successor,
                                                          Agent, Partner, Acquisition, Division,
            US Foods Culinary Equipment &                 Department, Facility, or Office of US
42-57       Supplies LLC                                  Foods                                     3/2/2022
                                                          Subsidiary, Affiliate, Assignor,
                                                          Parent, Predecessor, Successor,
                                                          Agent, Partner, Acquisition, Division,
                                                          Department, Facility, or Office of US
42-58       US Foods Holdin Corp.                         Foods                                     3/2/2022
            US Foods, Inc. d/b/a U.S. Foodservice,        Subsidiary, Affiliate, Assignor,
            Inc., Illinois US Foods, US foods of          Parent, Predecessor, Successor,
42-59       Illinois, Inc., US Foods of Illinois          Agent, Partner, Acquisition, Division,    3/2/2022


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                                    Actions, Exclusion Summary

Exclusion                                                                                      Postmark
                      Company Name                                   Details
    #                                                                                            Date

                                                      Department, Facility, or Office of US
                                                      Foods
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-60       USF Emf Inc                               Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-61       USF Holding Corp                          Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-62       USF Propco I, LLC                         Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-63       USF Propco II, LLC                        Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-64       USF Propco Mezz A, LLC                    Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-65       USF Propco Mezz B, LLC                    Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-66       USF Propco Mezz C, LLC                    Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
42-67       USP /Ri,. LLC                             Agent, Partner, Acquisition, Division,    3/2/2022


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                                    Actions, Exclusion Summary

Exclusion                                                                                      Postmark
                        Company Name                                 Details
    #                                                                                            Date

                                                      Department, Facility, or Office of US
                                                      Foods
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-68       Variety Foods L.L.C.                      Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-69       V asaturo Bros. Inc.                      Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-70       Walterboro L.K.E. LLC                     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-71       Waukesha Transport Inc.                   Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-72       Waukesha Wholesale Foods, Inc.            Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-73       White Apron Inc.                          Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-74       White Swan Inc.                           Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
42-75       Smart Stores Holding Corp.                Agent, Partner, Acquisition, Division,    3/2/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                        Postmark
                       Company Name                                    Details
    #                                                                                              Date

                                                        Department, Facility, or Office of US
                                                        Foods
                                                        Subsidiary, Affiliate, Assignor,
                                                        Parent, Predecessor, Successor,
                                                        Agent, Partner, Acquisition, Division,
                                                        Department, Facility, or Office of US
42-76       Smart Stores Acquisition LLC                Foods                                     3/2/2022
                                                        Subsidiary, Affiliate, Assignor,
                                                        Parent, Predecessor, Successor,
                                                        Agent, Partner, Acquisition, Division,
                                                        Department, Facility, or Office of US
42-77       Smart Stores Operations LLC                 Foods                                     3/2/2022
                                                        Subsidiary, Affiliate, Assignor,
                                                        Parent, Predecessor, Successor,
                                                        Agent, Partner, Acquisition, Division,
                                                        Department, Facility, or Office of US
42-78       Greenwood Stores Holding LLC                Foods                                     3/2/2022
                                                        Subsidiary, Affiliate, Assignor,
                                                        Parent, Predecessor, Successor,
                                                        Agent, Partner, Acquisition, Division,
                                                        Department, Facility, or Office of US
42-79       Greenwood Stores Acquisition LLC            Foods                                     3/2/2022
                                                        Subsidiary, Affiliate, Assignor,
                                                        Parent, Predecessor, Successor,
                                                        Agent, Partner, Acquisition, Division,
                                                        Department, Facility, or Office of US
42-80       Smart Foodservice Funding LLC               Foods                                     3/2/2022
                                                        Subsidiary, Affiliate, Assignor,
                                                        Parent, Predecessor, Successor,
                                                        Agent, Partner, Acquisition, Division,
                                                        Department, Facility, or Office of US
42-81       Smart Foodservice Funding LLC               Foods                                     3/2/2022
                                                        Subsidiary, Affiliate, Assignor,
                                                        Parent, Predecessor, Successor,
                                                        Agent, Partner, Acquisition, Division,
            Cash & Carry Stores LLC d/b/a Cash &        Department, Facility, or Office of US
42-82       Carry Smart Foodservice                     Foods                                     3/2/2022
                                                        Subsidiary, Affiliate, Assignor,
                                                        Parent, Predecessor, Successor,
42-83       Corporate Headquarters                      Agent, Partner, Acquisition, Division,    3/2/2022


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                                    Actions, Exclusion Summary

Exclusion                                                                                      Postmark
                        Company Name                                 Details
    #                                                                                            Date

                                                      Department, Facility, or Office of US
                                                      Foods
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-84       National Service Center                   Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-85       Albany                                    Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-86       Albuquerque                               Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-87       Allen/St. Louis                           Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-88       Allentown                                 Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-89       Altoona                                   Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-90       Atlanta                                   Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
42-91       Austin                                    Agent, Partner, Acquisition, Division,    3/2/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                      Postmark
                         Company Name                                Details
    #                                                                                            Date

                                                      Department, Facility, or Office of US
                                                      Foods
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-92       Bismarck                                  Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-93       Boston                                    Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-94       Buffalo Wild Wings, Inc ("BBW")           Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-95       Charlotte                                 Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-96       Chicago                                   Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-97       Cincinnati                                Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-98       Cleveland                                 Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
42-99       Columbia                                  Agent, Partner, Acquisition, Division,    3/2/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                      Postmark
                        Company Name                                 Details
    #                                                                                            Date

                                                      Department, Facility, or Office of US
                                                      Foods
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-100      Corona                                    Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-101      Dallas                                    Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-102      Denver                                    Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-103      Detroit                                   Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-104      Ft. Mill                                  Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-105      Fullerton                                 Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-106      Grand Forks                               Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
42-107      Grand Island                              Agent, Partner, Acquisition, Division,    3/2/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                      Postmark
                          Company Name                               Details
    #                                                                                            Date

                                                      Department, Facility, or Office of US
                                                      Foods
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-108      Greensburg                                Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-109      Houston                                   Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-110      Indianapolis                              Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-111      Iowa                                      Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-112      Jackson                                   Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-113      Kansas City                               Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-114      Knoxville                                 Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
42-115      Las Vegas                                 Agent, Partner, Acquisition, Division,    3/2/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                      Postmark
                          Company Name                               Details
    #                                                                                            Date

                                                      Department, Facility, or Office of US
                                                      Foods
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-116      Little Rock                               Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-117      Los Angeles                               Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-118      Lubbock                                   Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-119      Manassas                                  Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-120      Memphis                                   Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-121      Metro New York                            Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-122      Milwaukee                                 Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
42-123      Minneapolis                               Agent, Partner, Acquisition, Division,    3/2/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                      Postmark
                        Company Name                                 Details
    #                                                                                            Date

                                                      Department, Facility, or Office of US
                                                      Foods
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-124      Montgomery                                Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-125      Norcross                                  Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-126      Northwest                                 Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-127      Oklahoma City                             Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-128      Omaha                                     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-129      Philadelphia                              Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-130      Phoenix                                   Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
42-131      Pittson                                   Agent, Partner, Acquisition, Division,    3/2/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                      Postmark
                          Company Name                               Details
    #                                                                                            Date

                                                      Department, Facility, or Office of US
                                                      Foods
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-132      Port Orange                               Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-133      Raleigh                                   Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-134      Reno                                      Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-135      Rhode Island                              Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-136      Roanoke                                   Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-137      Salem                                     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-138      Boca Raton                                Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
42-139      Connecticut                               Agent, Partner, Acquisition, Division,    3/2/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                      Postmark
                        Company Name                                 Details
    #                                                                                            Date

                                                      Department, Facility, or Office of US
                                                      Foods
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-140      Salt Lake City                            Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-141      San Diego                                 Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-142      San Francisco                             Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-143      South Louisiana                           Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-144      Streator                                  Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-145      Swedesboro                                Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-146      Tampa                                     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
42-147      Waukesha                                  Agent, Partner, Acquisition, Division,    3/2/2022


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                                    Actions, Exclusion Summary

Exclusion                                                                                      Postmark
                          Company Name                               Details
    #                                                                                            Date

                                                      Department, Facility, or Office of US
                                                      Foods
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-148      West Virginia                             Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-149      Sioux Falls                               Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-150      Buffalo                                   Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-151      Chicago                                   Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-152      Orlando                                   Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-153      St. Louis                                 Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-154      St. Paul                                  Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
42-155      Tucson                                    Agent, Partner, Acquisition, Division,    3/2/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                      Postmark
                        Company Name                                 Details
    #                                                                                            Date

                                                      Department, Facility, or Office of US
                                                      Foods
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-156      Allentown                                 Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-157      Charlotte                                 Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-158      Plymouth (Retail)                         Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-159      Reno                                      Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-160      Charleson                                 Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-161      Charlotte                                 Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-162      Columbia                                  Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
42-163      Dallas                                    Agent, Partner, Acquisition, Division,    3/2/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                      Postmark
                        Company Name                                 Details
    #                                                                                            Date

                                                      Department, Facility, or Office of US
                                                      Foods
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-164      Oklahoma City                             Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-165      Tempe                                     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-166      Corporate                                 Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-167                                        202     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-168                                        203     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-169                                        501     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-170                                        502     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
42-171                                        503     Agent, Partner, Acquisition, Division,    3/2/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                      Postmark
                      Company Name                                   Details
    #                                                                                            Date

                                                      Department, Facility, or Office of US
                                                      Foods
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-172                                        504     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-173                                        505     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-174                                        506     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-175                                        507     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-176                                        309     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-177                                        510     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-178                                        513     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
42-179                                        515     Agent, Partner, Acquisition, Division,    3/2/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                      Postmark
                      Company Name                                   Details
    #                                                                                            Date

                                                      Department, Facility, or Office of US
                                                      Foods
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-180                                        516     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-181                                        517     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-182                                        518     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-183                                        520     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-184                                        524     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-185                                        527     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-186                                        531     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
42-187                                        532     Agent, Partner, Acquisition, Division,    3/2/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                      Postmark
                      Company Name                                   Details
    #                                                                                            Date

                                                      Department, Facility, or Office of US
                                                      Foods
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-188                                        533     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-189                                        534     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-190                                        535     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-191                                        536     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-192                                        537     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-193                                        538     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-194                                        539     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
42-195                                        540     Agent, Partner, Acquisition, Division,    3/2/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                      Postmark
                      Company Name                                   Details
    #                                                                                            Date

                                                      Department, Facility, or Office of US
                                                      Foods
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-196                                        541     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-197                                        542     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-198                                        544     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-199                                        545     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-200                                        546     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-201                                        547     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-202                                        548     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
42-203                                        549     Agent, Partner, Acquisition, Division,    3/2/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                      Postmark
                      Company Name                                   Details
    #                                                                                            Date

                                                      Department, Facility, or Office of US
                                                      Foods
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-204                                        550     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-205                                        551     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-206                                        552     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-207                                        553     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-208                                        555     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-209                                        556     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-210                                        557     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
42-211                                        558     Agent, Partner, Acquisition, Division,    3/2/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                      Postmark
                      Company Name                                   Details
    #                                                                                            Date

                                                      Department, Facility, or Office of US
                                                      Foods
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-212                                        559     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-213                                        560     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-214                                        561     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-215                                        562     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-216                                        564     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-217                                        565     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-218                                        566     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
42-219                                        567     Agent, Partner, Acquisition, Division,    3/2/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                      Postmark
                      Company Name                                   Details
    #                                                                                            Date

                                                      Department, Facility, or Office of US
                                                      Foods
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-220                                        569     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-221                                        570     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-222                                        571     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-223                                        572     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-224                                        573     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-225                                        574     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-226                                        575     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
42-227                                        576     Agent, Partner, Acquisition, Division,    3/2/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                      Postmark
                      Company Name                                   Details
    #                                                                                            Date

                                                      Department, Facility, or Office of US
                                                      Foods
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-228                                        577     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-229                                        578     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-230                                        579     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-231                                        583     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-232                                        584     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-233                                        586     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-234                                        587     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
42-235                                        590     Agent, Partner, Acquisition, Division,    3/2/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                     Postmark
                       Company Name                                  Details
    #                                                                                           Date

                                                      Department, Facility, or Office of US
                                                      Foods
                                                  Subsidiary, Affiliate, Assignor,
                                                  Parent, Predecessor, Successor,
                                                  Agent, Partner, Acquisition, Division,
                                                  Department, Facility, or Office of US
42-236                                        595 Foods                                        3/2/2022
                                                  Subsidiary, Affiliate, Assignor,
                                                  Parent, Predecessor, Successor,
                                                  Agent, Partner, Acquisition, Division,
                                                  Department, Facility, or Office of US
42-237      Food Services of America, Inc.        Foods                                        3/2/2022
                                                  Subsidiary, Affiliate, Assignor,
                                                  Parent, Predecessor, Successor,
                                                  Agent, Partner, Acquisition, Division,
                                                  Department, Facility, or Office of US
42-238      System Services of America, Inc.      Foods                                        3/2/2022
                                                  Subsidiary, Affiliate, Assignor,
                                                  Parent, Predecessor, Successor,
                                                  Agent, Partner, Acquisition, Division,
                                                  Department, Facility, or Office of US
42-239      Ameristar meats, Inc.                 Foods                                        3/2/2022
                                                  Subsidiary, Affiliate, Assignor,
                                                  Parent, Predecessor, Successor,
                                                  Agent, Partner, Acquisition, Division,
                                                  Department, Facility, or Office of US
42-240      Amerifresh, Inc.                      Foods                                        3/2/2022
                                                  Subsidiary, Affiliate, Assignor,
                                                  Parent, Predecessor, Successor,
                                                  Agent, Partner, Acquisition, Division,
                                                  Department, Facility, or Office of US
42-241      GAMPAC Express, inc.                  Foods                                        3/2/2022
                                                  Subsidiary, Affiliate, Assignor,
                                                  Parent, Predecessor, Successor,
                                                  Agent, Partner, Acquisition, Division,
                                                  Department, Facility, or Office of US
42-242      SSA Exports, LLC                      Foods                                        3/2/2022
                                                  Subsidiary, Affiliate, Assignor,
                                                  Parent, Predecessor, Successor,
42-243      Amerifresh Corporate Headquarters     Agent, Partner, Acquisition, Division,       3/2/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                        Postmark
                         Company Name                                  Details
    #                                                                                              Date

                                                        Department, Facility, or Office of US
                                                        Foods
                                                        Subsidiary, Affiliate, Assignor,
                                                        Parent, Predecessor, Successor,
                                                        Agent, Partner, Acquisition, Division,
            Ameristar Meats Corporate                   Department, Facility, or Office of US
42-244      Headquarters                                Foods                                     3/2/2022
                                                        Subsidiary, Affiliate, Assignor,
                                                        Parent, Predecessor, Successor,
                                                        Agent, Partner, Acquisition, Division,
            GAMPAC Express Corporate                    Department, Facility, or Office of US
42-245      Headquarters                                Foods                                     3/2/2022
                                                        Subsidiary, Affiliate, Assignor,
                                                        Parent, Predecessor, Successor,
                                                        Agent, Partner, Acquisition, Division,
                                                        Department, Facility, or Office of US
42-246      SSA Exports Corporate Headquarters          Foods                                     3/2/2022
                                                        Subsidiary, Affiliate, Assignor,
                                                        Parent, Predecessor, Successor,
                                                        Agent, Partner, Acquisition, Division,
            Food Services of America Corporate          Department, Facility, or Office of US
42-247      Headquarters                                Foods                                     3/2/2022
                                                        Subsidiary, Affiliate, Assignor,
                                                        Parent, Predecessor, Successor,
                                                        Agent, Partner, Acquisition, Division,
            System Services of America Corporate        Department, Facility, or Office of US
42-248      Headquarters                                Foods                                     3/2/2022
                                                        Subsidiary, Affiliate, Assignor,
                                                        Parent, Predecessor, Successor,
                                                        Agent, Partner, Acquisition, Division,
                                                        Department, Facility, or Office of US
42-249      Scottsdale                                  Foods                                     3/2/2022
                                                        Subsidiary, Affiliate, Assignor,
                                                        Parent, Predecessor, Successor,
                                                        Agent, Partner, Acquisition, Division,
                                                        Department, Facility, or Office of US
42-250      Phoenix                                     Foods                                     3/2/2022
                                                        Subsidiary, Affiliate, Assignor,
                                                        Parent, Predecessor, Successor,
42-251      Fontana                                     Agent, Partner, Acquisition, Division,    3/2/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                      Postmark
                        Company Name                                 Details
    #                                                                                            Date

                                                      Department, Facility, or Office of US
                                                      Foods
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-252      Tracy                                     Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-253      Everett                                   Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-254      Billings                                  Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-255      Loveland                                  Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-256      Portland                                  Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-257      Spokane                                   Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
                                                      Agent, Partner, Acquisition, Division,
                                                      Department, Facility, or Office of US
42-258      Anchorage                                 Foods                                     3/2/2022
                                                      Subsidiary, Affiliate, Assignor,
                                                      Parent, Predecessor, Successor,
42-259      Fresno                                    Agent, Partner, Acquisition, Division,    3/2/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                          Postmark
                          Company Name                                   Details
    #                                                                                                Date

                                                          Department, Facility, or Office of US
                                                          Foods
                                                          Subsidiary, Affiliate, Assignor,
                                                          Parent, Predecessor, Successor,
                                                          Agent, Partner, Acquisition, Division,
                                                          Department, Facility, or Office of US
42-260       McAllen                                      Foods                                     3/2/2022
                                                          Subsidiary, Affiliate, Assignor,
                                                          Parent, Predecessor, Successor,
                                                          Agent, Partner, Acquisition, Division,
                                                          Department, Facility, or Office of US
42-261       Mt. Vernon                                   Foods                                     3/2/2022
                                                          Subsidiary, Affiliate, Assignor,
                                                          Parent, Predecessor, Successor,
                                                          Agent, Partner, Acquisition, Division,
                                                          Department, Facility, or Office of US
42-262       Natl Retail, Nogales, Scottsdale             Foods                                     3/2/2022
                                                          Subsidiary, Affiliate, Assignor,
                                                          Parent, Predecessor, Successor,
                                                          Agent, Partner, Acquisition, Division,
                                                          Department, Facility, or Office of US
42-263       Salinas                                      Foods                                     3/2/2022
                                                          Subsidiary, Affiliate, Assignor,
                                                          Parent, Predecessor, Successor,
                                                          Agent, Partner, Acquisition, Division,
                                                          Department, Facility, or Office of US
42-264       Wenatchee                                    Foods                                     3/2/2022
                                                          Subsidiary, Affiliate, Assignor,
                                                          Parent, Predecessor, Successor,
                                                          Agent, Partner, Acquisition, Division,
                                                          Department, Facility, or Office of US
42-265       Yakima                                       Foods                                     3/2/2022
             Associated Wholesale Grocers, Inc.
43           ("AWG")                                                                                3/1/2022
             Affiliated Foods Midwest Cooperative,        Claims Assigned to Associated
43-1         Inc. ("AFM")                                 Wholesale Grocers, Inc ("AWG")            3/1/2022
                                                          Includes Subsidiaries- Did not
44           Wingstop Inc (Wingstop)                      provide list                              3/2/2022
45           Meijer                                       Collective                                3/2/2022



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                                    Actions, Exclusion Summary

Exclusion                                                                                          Postmark
                         Company Name                                    Details
    #                                                                                                Date

45-1         Meijer Inc                                  Collectively Meijer                        3/2/2022
45-2         Meijer Distribution, Inc                    Collectively Meijer                        3/2/2022
                                                         Includes Predecessors, Successors,
                                                         Subsidiaries, Affiliates, Partnerships,
                                                         Trade Names, Banners, Divisions,
46           OSI Restaurant Partners, LLC ("OSI")        and Assignors                              3/2/2022
                                                         Predecessor, Successor, Sibsidiary,
                                                         Affiliate, Partner, Trade Name,
46-1         OSI Restaurant Partners, LLC ("OSI")        Banner, Division, or Assignor of OSI       3/2/2022
                                                         Predecessor, Successor, Sibsidiary,
                                                         Affiliate, Partner, Trade Name,
46-2         Bloomin' Brands, Inc                        Banner, Division, or Assignor of OSI       3/2/2022
                                                         Predecessor, Successor, Sibsidiary,
                                                         Affiliate, Partner, Trade Name,
46-3         Outback Steakhouse                          Banner, Division, or Assignor of OSI       3/2/2022
                                                         Predecessor, Successor, Sibsidiary,
                                                         Affiliate, Partner, Trade Name,
46-4         Carrabba's Italian Grill                    Banner, Division, or Assignor of OSI       3/2/2022
                                                         Predecessor, Successor, Sibsidiary,
                                                         Affiliate, Partner, Trade Name,
46-5         Bonefish Grill                              Banner, Division, or Assignor of OSI       3/2/2022
                                                         Predecessor, Successor, Sibsidiary,
                                                         Affiliate, Partner, Trade Name,
46-6         Fleming's Prime Steakhouse                  Banner, Division, or Assignor of OSI       3/2/2022
                                                         Includes Predecessors, Successors,
                                                         Subsidiaries, Affiliates, Partnerships,
                                                         Trade Names, Banners, Divisions,
47           Publix Super Markets, Inc ("Publix")        and Assignors                              3/2/2022
                                                         Predecessor, Successor, Sibsidiary,
                                                         Affiliate, Partner, Trade Name,
                                                         Banner, Division, or Assignor of
47-1         Morning Song LLC                            Publix                                     3/2/2022
                                                         Predecessor, Successor, Sibsidiary,
                                                         Affiliate, Partner, Trade Name,
                                                         Banner, Division, or Assignor of
47-2         GreenWise Market                            Publix                                     3/2/2022
                                                         Includes Predecessors, Successors,
                                                         Subsidiaries, Affiliates, Partnerships,
                                                         Trade Names, Banners, Divisions,
48           Supervalu Inc ("Supervalu")                 and Assignors                              3/2/2022


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                                    Actions, Exclusion Summary

Exclusion                                                                                     Postmark
                         Company Name                                     Details
    #                                                                                           Date

                                                          Subsidiary, Affiliate, or Related
48-1         Acme Markets, Inc.                           Company of Supervalu                 3/2/2022
                                                          Subsidiary, Affiliate, or Related
48-2         Albertson's, Inc.                            Company of Supervalu                 3/2/2022
                                                          Subsidiary, Affiliate, or Related
48-3         Advantage Logistics - Southeast, Inc.        Company of Supervalu                 3/2/2022
                                                          Subsidiary, Affiliate, or Related
48-4         Advantage Logistics Southwest, Inc.          Company of Supervalu                 3/2/2022
                                                          Subsidiary, Affiliate, or Related
48-5         Advantage Logistics USA East L.L.C.          Company of Supervalu                 3/2/2022
                                                          Subsidiary, Affiliate, or Related
48-6         Advantage Logistics USA West L.L.C.          Company of Supervalu                 3/2/2022
                                                          Subsidiary, Affiliate, or Related
48-7         American Commerce Centers, Inc.              Company of Supervalu                 3/2/2022
                                                          Subsidiary, Affiliate, or Related
48-8         American Drug Stores, Inc.                   Company of Supervalu                 3/2/2022
                                                          Subsidiary, Affiliate, or Related
48-9         American Drug Stores LLC                     Company of Supervalu                 3/2/2022
             American Procurement and Logistics           Subsidiary, Affiliate, or Related
48-10        Company LLC                                  Company of Supervalu                 3/2/2022
                                                          Subsidiary, Affiliate, or Related
48-11        American Stores Company                      Company of Supervalu                 3/2/2022
                                                          Subsidiary, Affiliate, or Related
48-12        Arden Hills 2003 LLC                         Company of Supervalu                 3/2/2022
             Associated Grocers Acquisition               Subsidiary, Affiliate, or Related
48-13        Company                                      Company of Supervalu                 3/2/2022
                                                          Subsidiary, Affiliate, or Related
48-14        Associated Grocers of Florida, Inc.          Company of Supervalu                 3/2/2022
                                                          Subsidiary, Affiliate, or Related
48-15        Billings Distribution Company, LLC           Company of Supervalu                 3/2/2022
                                                          Subsidiary, Affiliate, or Related
48-16        Billings Equipment Company, Inc.             Company of Supervalu                 3/2/2022
                                                          Subsidiary, Affiliate, or Related
48-17        Billings Operations Company, LLC             Company of Supervalu                 3/2/2022
                                                          Subsidiary, Affiliate, or Related
48-18        Bismarck Distribution Company, LLC           Company of Supervalu                 3/2/2022
                                                          Subsidiary, Affiliate, or Related
48-19        Bismarck Equipment Company, Inc.             Company of Supervalu                 3/2/2022
                                                          Subsidiary, Affiliate, or Related
48-20        Bismarck Operations Company, LLC             Company of Supervalu                 3/2/2022


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Exclusion                                                                                  Postmark
                       Company Name                                 Details
    #                                                                                        Date

                                                   Subsidiary, Affiliate, or Related
48-21       Blaine North 1996 L.L.C.               Company of Supervalu                     3/2/2022
                                                   Subsidiary, Affiliate, or Related
48-22       Bloomington 1998 L.L.C.                Company of Supervalu                     3/2/2022
                                                   Subsidiary, Affiliate, or Related
48-23       Blue Nile Advertising, Inc.            Company of Supervalu                     3/2/2022
                                                   Subsidiary, Affiliate, or Related
48-24       Bristol Farms                          Company of Supervalu                     3/2/2022
                                                   Subsidiary, Affiliate, or Related
48-25       Burnsville 1998 L.L.C.                 Company of Supervalu                     3/2/2022
                                                   Subsidiary, Affiliate, or Related
48-26       Butson Enterprises of Vermont, Inc.    Company of Supervalu                     3/2/2022
            Butson's Enterprises of Massachusetts, Subsidiary, Affiliate, or Related
48-27       Inc.                                   Company of Supervalu                     3/2/2022
                                                   Subsidiary, Affiliate, or Related
48-28       Butson's Enterprises, Inc.             Company of Supervalu                     3/2/2022
                                                   Subsidiary, Affiliate, or Related
48-29       Cambridge 2006 L.L.C.                  Company of Supervalu                     3/2/2022
                                                   Subsidiary, Affiliate, or Related
48-30       Centralia Holdings, LLC                Company of Supervalu                     3/2/2022
                                                   Subsidiary, Affiliate, or Related
48-31       Champaign Distribution Company, LLC Company of Supervalu                        3/2/2022
                                                   Subsidiary, Affiliate, or Related
48-32       Champaign Equipment Company, Inc .     Company of Supervalu                     3/2/2022
                                                   Subsidiary, Affiliate, or Related
48-33       Champaign Operations Company, LLC Company of Supervalu                          3/2/2022
                                                   Subsidiary, Affiliate, or Related
48-34       Champlin 2005 L.L.C.                   Company of Supervalu                     3/2/2022
                                                   Subsidiary, Affiliate, or Related
48-35       Coon Rapids 2002 L.L.C.                Company of Supervalu                     3/2/2022
                                                   Subsidiary, Affiliate, or Related
48-36       Crown Grocers, Inc.                    Company of Supervalu                     3/2/2022
                                                   Subsidiary, Affiliate, or Related
48-37       Cub Foods, [nc.                        Company of Supervalu                     3/2/2022
                                                   Subsidiary, Affiliate, or Related
48-38       Cub Stores, LLC                        Company of Supervalu                     3/2/2022
                                                   Subsidiary, Affiliate, or Related
48-39       Eagan 2008 L.L.C.                      Company of Supervalu                     3/2/2022
                                                   Subsidiary, Affiliate, or Related
48-40       Eagan 2014 LL. C.                      Company of Supervalu                     3/2/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                    Postmark
                       Company Name                                      Details
    #                                                                                          Date

                                                         Subsidiary, Affiliate, or Related
48-41       Eastern Beverages, Inc.                      Company of Supervalu                 3/2/2022
                                                         Subsidiary, Affiliate, or Related
48-42       Eastern Region Management, LLC               Company of Supervalu                 3/2/2022
                                                         Subsidiary, Affiliate, or Related
48-43       Fargo Distribution Company, LLC              Company of Supervalu                 3/2/2022
                                                         Subsidiary, Affiliate, or Related
48-44       Fargo Equipment Company, Inc.                Company of Supervalu                 3/2/2022
                                                         Subsidiary, Affiliate, or Related
48-45       Fargo Operations Company, LLC                Company of Supervalu                 3/2/2022
                                                         Subsidiary, Affiliate, or Related
48-46       FF Acquisition, L.L.C.                       Company of Supervalu                 3/2/2022
                                                         Subsidiary, Affiliate, or Related
48-47       Foodarama LLC                                Company of Supervalu                 3/2/2022
                                                         Subsidiary, Affiliate, or Related
48-48       Forest Lake 2000 L.L.C.                      Company of Supervalu                 3/2/2022
                                                         Subsidiary, Affiliate, or Related
48-49       Fridley 1998 L.L.C.                          Company of Supervalu                 3/2/2022
                                                         Subsidiary, Affiliate, or Related
48-50       Grocers Capital Company                      Company of Supervalu                 3/2/2022
                                                         Subsidiary, Affiliate, or Related
48-51       Hastings 2002 L.L.C.                         Company of Supervalu                 3/2/2022
                                                         Subsidiary, Affiliate, or Related
48-52       Hazelwood Distribution Company, Inc.         Company of Supervalu                 3/2/2022
                                                         Subsidiary, Affiliate, or Related
48-53       Hazelwood Distribution Holdings, Inc.        Company of Supervalu                 3/2/2022
                                                         Subsidiary, Affiliate, or Related
48-54       Hopkins Distribution Company, LLC            Company of Supervalu                 3/2/2022
                                                         Subsidiary, Affiliate, or Related
48-55       Hopkins Equipment Company, Inc.              Company of Supervalu                 3/2/2022
            Hopkins Operations Company, LLC              Subsidiary, Affiliate, or Related
48-56       Hornbacher's, Inc.                           Company of Supervalu                 3/2/2022
            International Distributors Grand             Subsidiary, Affiliate, or Related
48-57       Bahama Limited                               Company of Supervalu                 3/2/2022
                                                         Subsidiary, Affiliate, or Related
48-58       Inver Grove Heights 2001 L.L.C.              Company of Supervalu                 3/2/2022
                                                         Subsidiary, Affiliate, or Related
48-59       Jewel Foods, Inc.                            Company of Supervalu                 3/2/2022
                                                         Subsidiary, Affiliate, or Related
48-60       Jewel Food Stores                            Company of Supervalu                 3/2/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
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Exclusion                                                                                  Postmark
                        Company Name                                   Details
    #                                                                                        Date

                                                       Subsidiary, Affiliate, or Related
48-61       Keatherly, Inc.                            Company of Supervalu                 3/2/2022
                                                       Subsidiary, Affiliate, or Related
48-62       Keltsch Bros., Inc.                        Company of Supervalu                 3/2/2022
                                                       Subsidiary, Affiliate, or Related
48-63       Lakeville 2014 L.L.C.                      Company of Supervalu                 3/2/2022
                                                       Subsidiary, Affiliate, or Related
48-64       Lithia Springs Holdings, LLC               Company of Supervalu                 3/2/2022
                                                       Subsidiary, Affiliate, or Related
48-65       Maplewood East 1996 L.L.C.                 Company of Supervalu                 3/2/2022
                                                       Subsidiary, Affiliate, or Related
48-66       Market Company, Ltd.                       Company of Supervalu                 3/2/2022
                                                       Subsidiary, Affiliate, or Related
48-67       Market Improvement Company                 Company of Supervalu                 3/2/2022
                                                       Subsidiary, Affiliate, or Related
48-68       Monticello 1998 L.L.C.                     Company of Supervalu                 3/2/2022
                                                       Subsidiary, Affiliate, or Related
48-69       Moran Foods, Inc.                          Company of Supervalu                 3/2/2022
                                                       Subsidiary, Affiliate, or Related
48-70       NAFTA Industries Consolidated, Inc.        Company of Supervalu                 3/2/2022
                                                       Subsidiary, Affiliate, or Related
48-71       NAFTA Industries, Ltd.                     Company of Supervalu                 3/2/2022
                                                       Subsidiary, Affiliate, or Related
48-72       NC&T Supermarkets, Inc.                    Company of Supervalu                 3/2/2022
                                                       Subsidiary, Affiliate, or Related
48-73       Nevada Bond Investment Corp.               Company of Supervalu                 3/2/2022
                                                       Subsidiary, Affiliate, or Related
48-74       New Albertson's, Inc.                      Company of Supervalu                 3/2/2022
                                                       Subsidiary, Affiliate, or Related
48-75       Northfield 2002 L.L.C.                     Company of Supervalu                 3/2/2022
                                                       Subsidiary, Affiliate, or Related
48-76       Oglesby Distribution Company, LLC          Company of Supervalu                 3/2/2022
                                                       Subsidiary, Affiliate, or Related
48-77       Oglesby Equipment Company, Inc.            Company of Supervalu                 3/2/2022
                                                       Subsidiary, Affiliate, or Related
48-78       Oglesby Operations Company, LLC            Company of Supervalu                 3/2/2022
                                                       Subsidiary, Affiliate, or Related
48-79       Plymouth 1998 L.L.C.                       Company of Supervalu                 3/2/2022
                                                       Subsidiary, Affiliate, or Related
48-80       Preferred Products, Inc.                   Company of Supervalu                 3/2/2022


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Exclusion                                                                                  Postmark
                       Company Name                                Details
    #                                                                                        Date

                                                  Subsidiary, Affiliate, or Related
48-81       Richfood, Inc.                        Company of Supervalu                      3/2/2022
                                                  Subsidiary, Affiliate, or Related
48-82       Savage 2002 L.L.C.                    Company of Supervalu                      3/2/2022
                                                  Subsidiary, Affiliate, or Related
48-83       SAVE-A-LOT Food Stores, Ltd.          Company of Supervalu                      3/2/2022
                                                  Subsidiary, Affiliate, or Related
48-84       Save-A-Lot Tyler Group, LLC           Company of Supervalu                      3/2/2022
                                                  Subsidiary, Affiliate, or Related
48-85       Scott's Food Stores, Inc.             Company of Supervalu                      3/2/2022
                                                  Subsidiary, Affiliate, or Related
48-86       SFW Holding Corp.                     Company of Supervalu                      3/2/2022
                                                  Subsidiary, Affiliate, or Related
48-87       Shakopee 1997 L.L.C.                  Company of Supervalu                      3/2/2022
                                                  Subsidiary, Affiliate, or Related
48-88       Shaws Supermarkets, Inc.              Company of Supervalu                      3/2/2022
                                                  Subsidiary, Affiliate, or Related
48-89       Shop 'N Save East Prop, LLC           Company of Supervalu                      3/2/2022
                                                  Subsidiary, Affiliate, or Related
48-90       Shop 'N Save East, LLC                Company of Supervalu                      3/2/2022
                                                  Subsidiary, Affiliate, or Related
48-91       Shop 'N Save Prop, LLC                Company of Supervalu                      3/2/2022
                                                  Subsidiary, Affiliate, or Related
48-92       Shop 'N Save St. Louis, Inc.          Company of Supervalu                      3/2/2022
                                                  Subsidiary, Affiliate, or Related
48-93       Shop 'N Save Warehouse Foods, Inc.    Company of Supervalu                      3/2/2022
                                                  Subsidiary, Affiliate, or Related
48-94       Shoppers Food Warehouse Corp.         Company of Supervalu                      3/2/2022
                                                  Subsidiary, Affiliate, or Related
48-95       Shorewood 2001 L.L.C.                 Company of Supervalu                      3/2/2022
                                                  Subsidiary, Affiliate, or Related
48-96       Silver Lake 1996 L.L.C.               Company of Supervalu                      3/2/2022
                                                  Subsidiary, Affiliate, or Related
48-97       Southstar LLC                         Company of Supervalu                      3/2/2022
            Stevens Point Distribution Company,   Subsidiary, Affiliate, or Related
48-98       LLC                                   Company of Supervalu                      3/2/2022
                                                  Subsidiary, Affiliate, or Related
48-99       Stevens Point Equipment Company, Inc. Company of Supervalu                      3/2/2022
            Stevens Point Operations Company,     Subsidiary, Affiliate, or Related
48-100      LLC                                   Company of Supervalu                      3/2/2022


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                                    Actions, Exclusion Summary

Exclusion                                                                                  Postmark
                       Company Name                                 Details
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                                                   Subsidiary, Affiliate, or Related
48-101      Sunflower Markets, LLC                 Company of Supervalu                     3/2/2022
                                                   Subsidiary, Affiliate, or Related
48-102      SuperMarket Operators of America, Inc. Company of Supervalu                     3/2/2022
            Super Rite Foods Equipment Company, Subsidiary, Affiliate, or Related
48-103      Inc.                                   Company of Supervalu                     3/2/2022
            Super Rite Foods. Operations Company, Subsidiary, Affiliate, or Related
48-104      LLC                                    Company of Supervalu                     3/2/2022
                                                   Subsidiary, Affiliate, or Related
48-105      Super Rite Foods, Inc.                 Company of Supervalu                     3/2/2022
                                                   Subsidiary, Affiliate, or Related
48-106      SUPERVALU ASSIST, Inc.                 Company of Supervalu                     3/2/2022
                                                   Subsidiary, Affiliate, or Related
48-107      SUPERVALU Enterprise Services, Inc. Company of Supervalu                        3/2/2022
                                                   Subsidiary, Affiliate, or Related
48-108      SUPERVALU Enterprises, .Inc.           Company of Supervalu                     3/2/2022
                                                   Subsidiary, Affiliate, or Related
48-109      SUPERVALU Foundation                   Company of Supervalu                     3/2/2022
                                                   Subsidiary, Affiliate, or Related
48-110      SUPERVALU Gold, LLC                    Company of Supervalu                     3/2/2022
                                                   Subsidiary, Affiliate, or Related
48-111      SUPERVALU Holdco, Inc.                 Company of Supervalu                     3/2/2022
            SUPERVALU Holdings Equipment           Subsidiary, Affiliate, or Related
48-112      Company, Inc.                          Company of Supervalu                     3/2/2022
            SUPERVALU Holdings Operations          Subsidiary, Affiliate, or Related
48-113      Company, LLC                           Company of Supervalu                     3/2/2022
            SUPERVALU Holdings PA Equipment Subsidiary, Affiliate, or Related
48-114      Company, Inc.                          Company of Supervalu                     3/2/2022
            SUPERVALU Holdings PA Operations Subsidiary, Affiliate, or Related
48-115      Company, LLC                           Company of Supervalu                     3/2/2022
                                                   Subsidiary, Affiliate, or Related
48-116      SUPERVALU Holdings, Inc.               Company of Supervalu                     3/2/2022
                                                   Subsidiary, Affiliate, or Related
48-117      SUPERVALU Holdings-PA LLC              Company of Supervalu                     3/2/2022
                                                   Subsidiary, Affiliate, or Related
48-118      SUPERVALU INC.                         Company of Supervalu                     3/2/2022
                                                   Subsidiary, Affiliate, or Related
48-119      SUPERVALU India, Inc.                  Company of Supervalu                     3/2/2022
                                                   Subsidiary, Affiliate, or Related
48-120      SUPERVALU Licensing, LLC               Company of Supervalu                     3/2/2022


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                                    Actions, Exclusion Summary

Exclusion                                                                                  Postmark
                       Company Name                               Details
    #                                                                                        Date

                                               Subsidiary, Affiliate, or Related
48-121      SUPERVALU Merger Sub, Inc.         Company of Supervalu                         3/2/2022
            SUPERVALU Penn Equipment           Subsidiary, Affiliate, or Related
48-122      Company, Inc.                      Company of Supervalu                         3/2/2022
            SUPERVALU Penn Operations          Subsidiary, Affiliate, or Related
48-123      Company, LLC                       Company of Supervalu                         3/2/2022
                                               Subsidiary, Affiliate, or Related
48-124      SUPERVALU Penn, LLC                Company of Supervalu                         3/2/2022
                                               Subsidiary, Affiliate, or Related
48-125      SUPERVALU Pharmacies, Inc.         Company of Supervalu                         3/2/2022
            SUPERVALU Receivables Funding      Subsidiary, Affiliate, or Related
48-126      Corporation                        Company of Supervalu                         3/2/2022
                                               Subsidiary, Affiliate, or Related
48-127      SUPERVALU Services USA, Inc. ·     Company of Supervalu                         3/2/2022
                                               Subsidiary, Affiliate, or Related
48-128      SUPERVALU Transportation, Inc.     Company of Supervalu                         3/2/2022
                                               Subsidiary, Affiliate, or Related
48-129      SUPERVAL.J TTSJ, LLC               Company of Supervalu                         3/2/2022
                                               Subsidiary, Affiliate, or Related
48-130      SUPERVAL·u WA, L.L.C ..            Company of Supervalu                         3/2/2022
            SUPERVALU Wholesale Equipment      Subsidiary, Affiliate, or Related
48-131      Company, Inc.                      Company of Supervalu                         3/2/2022
                                               Subsidiary, Affiliate, or Related
48-132      SUPERVALU Wholesale Holdings, Inc. Company of Supervalu                         3/2/2022
            SUPERVALU Wholesale Operations,    Subsidiary, Affiliate, or Related
48-133      Inc.                               Company of Supervalu                         3/2/2022
                                               Subsidiary, Affiliate, or Related
48-134      SUPERVALU Wholesale, Inc.          Company of Supervalu                         3/2/2022
                                               Subsidiary, Affiliate, or Related
48-135      SY Markets, Inc.                   Company of Supervalu                         3/2/2022
                                               Subsidiary, Affiliate, or Related
48-136      SVU Legacy, LLC                    Company of Supervalu                         3/2/2022
                                               Subsidiary, Affiliate, or Related
48-137      TCTTSJ Aviation, Inc.              Company of Supervalu                         3/2/2022
                                               Subsidiary, Affiliate, or Related
48-138      TC Michigan LLC                    Company of Supervalu                         3/2/2022
                                               Subsidiary, Affiliate, or Related
48-139      TTSJ Aviation, Inc.                Company of Supervalu                         3/2/2022
                                               Subsidiary, Affiliate, or Related
48-140      Ultra Foods, Inc.                  Company of Supervalu                         3/2/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                   Postmark
                        Company Name                                    Details
    #                                                                                         Date

                                                        Subsidiary, Affiliate, or Related
48-141      Unified Grocers, Inc.                       Company of Supervalu                 3/2/2022
                                                        Subsidiary, Affiliate, or Related
48-142      Unified International, Inc.                 Company of Supervalu                 3/2/2022
                                                        Subsidiary, Affiliate, or Related
48-143      Yalu Ventures 2, Inc.                       Company of Supervalu                 3/2/2022
                                                        Subsidiary, Affiliate, or Related
48-144      W.Newell & Co.                              Company of Supervalu                 3/2/2022
            W.Newell & Co. Equipment Company,           Subsidiary, Affiliate, or Related
48-145      Inc.                                        Company of Supervalu                 3/2/2022
                                                        Subsidiary, Affiliate, or Related
48-146      W.Newell & Co., LLC                         Company of Supervalu                 3/2/2022
                                                        Subsidiary, Affiliate, or Related
48-147      Wetterau Insurance Co. Ltd.                 Company of Supervalu                 3/2/2022
            Woodford Square Associates Limited          Subsidiary, Affiliate, or Related
48-148      Partnership                                 Company of Supervalu                 3/2/2022
                                                        Subsidiary, Affiliate, or Related
48-149      WSI Satellite, Inc.                         Company of Supervalu                 3/2/2022
                                                        Subsidiary, Affiliate, or Related
48-150      Yalu Ventures 2, Inc.                       Company of Supervalu                 3/2/2022
49          Unitfied Grocers, Inc ("Unified")                                                3/2/2022
            Associated Grocers of Florida, Inc
50          ("AGF").                                                                         3/2/2022
51          Wakefern Food Corp ("Wakefern")                                                  3/2/2022
            Associated Grocers of the South, Inc
52          ("AGS")                                                                          3/2/2022
53          Allegan County Youth Home                                                        3/2/2022
54          Freebird Enterprises LLC                                                         3/3/2022
55          Imagine Dining, LLC                                                              3/3/2022
56          Just Shred It, LLC                                                               3/3/2022
57          3rd Gen, LLC                                                                     3/3/2022
58          3 Misfits, LLC                                                                   3/3/2022
59          NC Core, LLC                                                                     3/3/2022
60          Killer Bs Enterprises, LLC                                                       3/3/2022
61          Bullard Restaurants, Inc                                                         3/3/2022
62          Pitbull Enterprises, Inc                                                         3/3/2022
63          Tarheel, Inc                                                                     3/3/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                       Postmark
                           Company Name                               Details
    #                                                                                             Date

64           Sticky Fingers Enterprises, LLC                                                     3/3/2022
65           Second Half Enterprises, Inc                                                        3/3/2022
                                                      Includes Predecessors, Successors,
                                                      Subsidiaries, Affiliates, Partnerships,
                                                      Trade Names, Banners, Divisions,
66           The Kroger Co. ("Kroger")2               and Assignors                              3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of The
66-1         Kroger                                   Kroger Co.                                 3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of The
66-2         The Kroger Co.                           Kroger Co.                                 3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of The
66-3         Kroger Limited Partnership I             Kroger Co.                                 3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of The
66-4         KRGP Inc.                                Kroger Co.                                 3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of The
66-5         Kroger Texas L.P.                        Kroger Co.                                 3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of The
66-6         The Kroger Co. of Michigan               Kroger Co.                                 3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of The
66-7         Baker's                                  Kroger Co.                                 3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of The
66-8         City Market                              Kroger Co.                                 3/2/2022




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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                    Postmark
                           Company Name                              Details
    #                                                                                          Date

                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of The
66-9         Copps Food Center                        Kroger Co.                              3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of The
66-10        Dillon                                   Kroger Co.                              3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of The
66-11        Dillon Companies, Inc. FMJ, Inc.         Kroger Co.                              3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of The
66-12        Food 4 Less                              Kroger Co.                              3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of The
66-13        Food 4 Less Holdings, Inc.               Kroger Co.                              3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of The
66-14        Fred Meyer                               Kroger Co.                              3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of The
66-15        Fred Meyer, Inc.                         Kroger Co.                              3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of The
66-16        Fred Meyer Jewelers, Inc.                Kroger Co.                              3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of The
66-17        Fred Meyer Stores, Inc.                  Kroger Co.                              3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of The
66-18        Fry's                                    Kroger Co.                              3/2/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                          Postmark
                        Company Name                                       Details
    #                                                                                                Date

                                                            Predecessor, Successor, Subsidiary,
                                                            Affiliate, Partner, Trade Name,
                                                            Banner, Division, or Assignor of The
66-19       Gerbes                                          Kroger Co.                              3/2/2022
                                                            Predecessor, Successor, Subsidiary,
                                                            Affiliate, Partner, Trade Name,
                                                            Banner, Division, or Assignor of The
66-20       Harris Teeter                                   Kroger Co.                              3/2/2022
                                                            Predecessor, Successor, Subsidiary,
                                                            Affiliate, Partner, Trade Name,
                                                            Banner, Division, or Assignor of The
66-21       Harris Teeter, Inc.                             Kroger Co.                              3/2/2022
                                                            Predecessor, Successor, Subsidiary,
                                                            Affiliate, Partner, Trade Name,
                                                            Banner, Division, or Assignor of The
66-22       Harris Teeter, LLC                              Kroger Co.                              3/2/2022
                                                            Predecessor, Successor, Subsidiary,
                                                            Affiliate, Partner, Trade Name,
                                                            Banner, Division, or Assignor of The
66-23       Healthy Options, Inc.                           Kroger Co.                              3/2/2022
                                                            Predecessor, Successor, Subsidiary,
                                                            Affiliate, Partner, Trade Name,
                                                            Banner, Division, or Assignor of The
66-24       Jay C Food Stores                               Kroger Co.                              3/2/2022
                                                            Predecessor, Successor, Subsidiary,
                                                            Affiliate, Partner, Trade Name,
                                                            Banner, Division, or Assignor of The
66-25       Junior Food Stores of West Florida, Inc.        Kroger Co.                              3/2/2022
                                                            Predecessor, Successor, Subsidiary,
                                                            Affiliate, Partner, Trade Name,
                                                            Banner, Division, or Assignor of The
66-26       Kessel                                          Kroger Co.                              3/2/2022
                                                            Predecessor, Successor, Subsidiary,
                                                            Affiliate, Partner, Trade Name,
                                                            Banner, Division, or Assignor of The
66-27       Kessel Food Markets, Inc.                       Kroger Co.                              3/2/2022
                                                            Predecessor, Successor, Subsidiary,
                                                            Affiliate, Partner, Trade Name,
                                                            Banner, Division, or Assignor of The
66-28       King Soopers                                    Kroger Co.                              3/2/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                    Postmark
                       Company Name                                  Details
    #                                                                                          Date

                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of The
66-29       Mariano's Fresh Market                    Kroger Co.                              3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of The
66-30       Metro Market                              Kroger Co.                              3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of The
66-31       Owen's                                    Kroger Co.                              3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of The
66-32       Pick 'n Save                              Kroger Co.                              3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of The
66-33       Pay Less Super Markets                    Kroger Co.                              3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of The
66-34       QFC                                       Kroger Co.                              3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of The
66-35       Ralphs                                    Kroger Co.                              3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of The
66-36       Ralphs Grocery Company                    Kroger Co.                              3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of The
66-37       Roundy's Inc.                             Kroger Co.                              3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of The
66-38       Ruler Foods                               Kroger Co.                              3/2/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                       Postmark
                         Company Name                                 Details
    #                                                                                             Date

                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of The
66-39        Smith's                                  Kroger Co.                                 3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of The
66-40        Smith's Food & Drug Centers, Inc.        Kroger Co.                                 3/2/2022
                                                      Includes Predecessors, Successors,
                                                      Subsidiaries, Affiliates, Partnerships,
             Albertsons Companies, Inc                Trade Names, Banners, Divisions,
67           ("Albertsons")2                          and Assignors                              3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
67-1         Albertsons Albertson's, Inc              Albertsons                                 3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
67-2         Albertsons LLC                           Albertsons                                 3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
67-3         Albertsons Companies LLC                 Albertsons                                 3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
67-4         Albertsons Companies, Inc.               Albertsons                                 3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
67-5         Albertsons Market                        Albertsons                                 3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
67-6         Acme Markets                             Albertsons                                 3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
67-7         American Stores Company                  Albertsons                                 3/2/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                   Postmark
                          Company Name                               Details
    #                                                                                         Date

                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
67-8         American Drug Stores                     Albertsons                             3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
67-9         Company Amigos United                    Albertsons                             3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
67-10        Carr-Gottstein Foods Co.                 Albertsons                             3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
67-11        Dominick's                               Albertsons                             3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
67-12        Dominick's Finer Foods, LLC              Albertsons                             3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
67-13        Extreme Value                            Albertsons                             3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
67-14        Extreme Value Centers                    Albertsons                             3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
67-15        Genuardi'                                Albertsons                             3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
67-16        Genuardi's Family Markets LP             Albertsons                             3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
67-17        Haggen                                   Albertsons                             3/2/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                   Postmark
                         Company Name                                Details
    #                                                                                         Date

                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
67-18       Haggen Food & Pharmacy                    Albertsons                             3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
67-19       Jerseymaid Milk Products                  Albertsons                             3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
67-20       Jewel Foods                               Albertsons                             3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
67-21       Jewel Foods, Inc.                         Albertsons                             3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
67-22       Jewel Food Stores Lucerne                 Albertsons                             3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
67-23       Foods, Inc. Market Street                 Albertsons                             3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
67-24       New Alberson's Inc.                       Albertsons                             3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
67-25       Pak 'N Sav                                Albertsons                             3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
67-26       Foods Pavilion                            Albertsons                             3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
67-27       Pavilions Place Randall's                 Albertsons                             3/2/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                   Postmark
                          Company Name                               Details
    #                                                                                         Date

                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
67-28       Randall's Food & Drugs LP                 Albertsons                             3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
67-29       Safeway                                   Albertsons                             3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
67-30       Safeway Inc.                              Albertsons                             3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
67-31       Safeway Food & Drug                       Albertsons                             3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
67-32       Shaw's Supermarkets, Inc.                 Albertsons                             3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
67-33       Simon David                               Albertsons                             3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
67-34       Star Market                               Albertsons                             3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
67-35       The Vons Companies, Inc.                  Albertsons                             3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
67-36       Tom Thumb Food & Drugs                    Albertsons                             3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
67-37       United Express                            Albertsons                             3/2/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                           Postmark
                         Company Name                                     Details
    #                                                                                                 Date

                                                          Predecessor, Successor, Subsidiary,
                                                          Affiliate, Partner, Trade Name,
                                                          Banner, Division, or Assignor of
67-38        United Supermarkets, LLC                     Albertsons                                 3/2/2022
                                                          Predecessor, Successor, Subsidiary,
                                                          Affiliate, Partner, Trade Name,
                                                          Banner, Division, or Assignor of
67-39        Vons                                         Albertsons                                 3/2/2022
                                                          Predecessor, Successor, Subsidiary,
                                                          Affiliate, Partner, Trade Name,
                                                          Banner, Division, or Assignor of
67-40        Vons Grocery Company                         Albertsons                                 3/2/2022
                                                          Includes Predecessors, Successors,
                                                          Subsidiaries, Affiliates, Partnerships,
                                                          Trade Names, Banners, Divisions,
68           Hy-Vee, Inc ("Hy-Vee")2                      and Assignors                              3/2/2022
                                                          Predecessor, Successor, Subsidiary,
                                                          Affiliate, Partner, Trade Name,
                                                          Banner, Division, or Assignor of Hy-
68-1         Hy-Vee                                       Vee                                        3/2/2022
                                                          Predecessor, Successor, Subsidiary,
                                                          Affiliate, Partner, Trade Name,
                                                          Banner, Division, or Assignor of Hy-
68-2         Hy-Vee, Inc.                                 Vee                                        3/2/2022
                                                          Predecessor, Successor, Subsidiary,
                                                          Affiliate, Partner, Trade Name,
                                                          Banner, Division, or Assignor of Hy-
68-3         Perihable Distributors of Iowa, Ltd.         Vee                                        3/2/2022
                                                          Predecessor, Successor, Subsidiary,
                                                          Affiliate, Partner, Trade Name,
                                                          Banner, Division, or Assignor of Hy-
68-4         Topco Associates LLC                         Vee                                        3/2/2022
                                                          Predecessor, Successor, Subsidiary,
                                                          Affiliate, Partner, Trade Name,
                                                          Banner, Division, or Assignor of Hy-
68-5         Topco Associates, Inc.                       Vee                                        3/2/2022
                                                          Includes Predecessors, Successors,
                                                          Subsidiaries, Affiliates, Partnerships,
                                                          Trade Names, Banners, Divisions,
69           Save Mart Supermarkets ("Save Mart")2        and Assignors                              3/2/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                       Postmark
                         Company Name                                 Details
    #                                                                                             Date

                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
69-1         Save Mart Supermarkets                   Save Mart                                  3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
69-2         Save Mart                                Save Mart                                  3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
69-3         FoodMaxx                                 Save Mart                                  3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
69-4         Lucky Supermarkets                       Save Mart                                  3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
69-5         MaxxValue Foods                          Save Mart                                  3/2/2022
                                                      Includes Predecessors, Successors,
                                                      Subsidiaries, Affiliates, Partnerships,
                                                      Trade Names, Banners, Divisions,
70           Pollo Operations, Inc ("Pollo")2         and Assignors                              3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
70-1         Pollo Operations, Inc.                   Pollo                                      3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
70-2         Pollo Franchise, Inc.                    Pollo                                      3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
70-3         Taco Cabana, Inc.                        Pollo                                      3/2/2022
                                                      Predecessor, Successor, Subsidiary,
                                                      Affiliate, Partner, Trade Name,
                                                      Banner, Division, or Assignor of
70-4         Fiesta Restaurant Group, Inc.            Pollo                                      3/2/2022


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In re: Broiler Chicken Antitrust Litigation - Commercial & Institutional Indirect Purchaser Plaintiff
                                    Actions, Exclusion Summary

Exclusion                                                                                        Postmark
                        Company Name                                    Details
    #                                                                                              Date

                                                         Predecessor, Successor, Subsidiary,
                                                         Affiliate, Partner, Trade Name,
                                                         Banner, Division, or Assignor of
70-5         Kelly's Foods Inc.                          Pollo                                    3/2/2022
71           Donegal Mutual Insurance Company                                                    2/18/2022

1. In a handwritten note, Aubin's Butchering and Processing specifically requested exclusion from the
Amick, Peco, George's, Pilgrim's, and Tyson's settlements.
2. In a March 2, 2022 letter to A.B. Data, counsel for The Kroger Co., Albertsons Company, Inc., Hy-Vee,
Inc., Save Mart Supermarkets, and Pollo Operations, Inc. wrote that they do not believe that those entities
are part of the CIIPPs' Mar-Jac Settlement Class. However, per their letter, they write that in an
"abundance of caution" they request exclusion from the Mar-Jac settlement.




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